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               ORAL ARGUMENT NOT YET SCHEDULED
             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
 No. 23-1157 (consolidated with Nos. 23-1181, 23-1183, 23-1190, 23-1191, 23-
 1193, 23-1195, 23-1199, 23-1200, 23-1201, 23-1202, 23-1203, 23-1205 23-1206,
  23-1207, 23-1208, 23-1209, 23-1211, 23-1306, 23-1307, 23-1314 23-1315, 23-
                                1316, 23-1317)

                          STATE OF UTAH, et al.,
                                          Petitioners,
                                  v.

    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, et
                           al.,
                                 Respondents.

        On Petitions for Judicial Review of Final Agency Action of
           the United States Environmental Protection Agency
                    88 Fed. Reg. 36,654 (June 5, 2023)


     FINAL JOINT OPENING BRIEF OF INDUSTRY PETITIONERS

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 Cooperative Association and
 Portland Cement Association, and
 Movants for Intervention Arizona
 Public Service Company and Salt
 River Project Agricultural
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  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to Circuit Rule 28(a)(1), this Certificate is submitted on behalf

of Industry Petitioners in these consolidated cases: American Chemistry

Council; American Forest & Paper Association; American Fuel &

Petrochemical Manufacturers; American Iron and Steel Institute; American

Petroleum Institute; America’s Power; Arkansas League of Good Neighbors;

Associated Electric Cooperative Inc.; Buckeye Power, Inc.; Deseret Power

Electric Cooperative; Enbridge (U.S.) Inc.; Energy Transfer LP; Hybar LLC;

Interstate Natural Gas Association of America; Kinder Morgan, Inc.;

Midwest Ozone Group; National Mining Association; National Rural

Electric Cooperative Association; Ohio Valley Electric Corporation; Portland

Cement Association; TransCanada PipeLine USA Ltd.; Union Electric

Company, d/b/a Ameren Missouri; United States Steel Corporation; Wabash

Valley Power Association Alliance, Inc., d/b/a Wabash Valley Power

Alliance.

            A. Parties, Intervenors, and Amici Curiae.

      Because these consolidated cases involve direct review of a final


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agency action, the requirement to furnish a list of parties, intervenors, and

amici curiae that appeared below is inapplicable. These cases involve the

following parties:

      Petitioners:

      Case No. 23-1157: State of Utah

      Case No. 23-1181: Kinder Morgan, Inc.

      Case No. 23-1183: State of Ohio
                        State of West Virginia
                        State of Indiana

      Case No. 23-1190: American Forest & Paper Association

      Case No. 23-1191: Midwest Ozone Group

      Case No. 23-1193: Interstate Natural Gas Association of America
                        American Petroleum Institute

      Case No. 23-1195: Associated Electric Cooperative, Inc.
                        Deseret Generation & Transmission Co-Operative,
                             d/b/a Deseret Power Electric Cooperative
                        Ohio Valley Electric Corporation
                        Wabash Valley Power Association, Inc., d/b/a
                             Wabash Valley Power Alliance
                        America’s Power
                        National Rural Electric Cooperative Association
                        Portland Cement Association


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      Case No. 23-1199: National Mining Association

      Case No. 23-1200: American Iron and Steel Institute

      Case No. 23-1201: State of Wisconsin

      Case No. 23-1202: Enbridge (U.S.) Inc.

      Case No. 23-1203: American Chemistry Council
                        American Fuel & Petrochemical Manufacturers

      Case No. 23-1205: TransCanada Pipeline USA Ltd.

      Case No. 23-1206: Hybar LLC

      Case No. 23-1207: United States Steel Corporation

      Case No. 23-1208: Union Electric Company, d/b/a Ameren Missouri

      Case No. 23-1209: State of Nevada

      Case No. 23-1211: Arkansas League of Good Neighbors

      Case No. 23-1306: Energy Transfer LP (venue transferred from Seventh
                         Circuit)

      Case No. 23-1307: Energy Transfer LP (venue transferred from Seventh
                         Circuit)

      Case No. 23-1314: Kentucky Energy and Environment Cabinet (venue
                        transferred from Sixth Circuit)


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      Case No. 23-1315: State of Kentucky (venue transferred from Sixth
                        Circuit)

      Case No. 23-1316: Energy Transfer LP (venue transferred from Sixth
                        Circuit)

      Case No. 23-1317: Buckeye Power, Inc.
                        Ohio Valley Electric Corporation (venue transferred
                        from the Sixth Circuit).

      Respondents:

      Respondents are the United States Environmental Protection Agency

(EPA) and Michael S. Regan, in his capacity as Administrator of EPA.

      Intervenors:

      Intervenors in support of Respondents in Case No. 23-1201 are

Midwest Ozone Group, which moved to intervene in support of Respondent

with respect to Wisconsin’s Petition challenging the Rule as insufficiently

stringent (see ECF No. 2017374 (Sept. 18, 2023)).

      Intervenors in support of Respondents in all other cases are: (i) the City

of New York, the District of Columbia, Harris County, Texas, and the States

of Connecticut, Delaware, Illinois, Maryland, Massachusetts, New Jersey,


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 New York, Wisconsin, and Pennsylvania (State Intervenor-Respondents);

 and (ii) Air Alliance Houston, Appalachian Mountain Club, Center for

 Biological   Diversity,   Chesapeake      Bay   Foundation,         Citizen’s   for

 Pennsylvania’s Future, Clean Air Council, Clean Wisconsin, Downwinders

 at Risk, Environmental Defense Fund, Louisiana Environmental Action

 Network, Sierra Club, Southern Utah Wilderness Alliance, and Utah

 Physicians for a Healthy Environment (Environmental-Group Intervenor-

 Respondents). State Intervenor-Respondents together filed a joint motion to

 intervene (ECF No. 2008842 (July 20, 2023)), as did Environmental-Group

 Intervenor Respondents (see ECF No. 2007135 (July 10, 2023)). These

 Intervenor-Respondents oppose all petitions except those “challenging the

 Rule[s] as insufficiently stringent” (ECF No. 2007135 at 1-2).

       Sierra Club is an Intervenor in support of Petitioner Wisconsin,

 arguing that the Rule is insufficiently stringent (see ECF No. 2021227 (Oct.

 11, 2023); ECF No. 2024447 (Oct. 30, 2023)), and is an Intervenor in support




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 of Respondent with respect to all other petitions (see ECF No. 2011681 (Aug.

 10, 2023)).

       City Utilities of Springfield is an Intervenor in support of Petitioners

 in all cases (see ECF No. 2021227 (Oct. 11, 2023)).

       Arizona Public Service Company and Salt River Project Agricultural

 Improvement and Power District are Movant-Intervenors in support of

 Petitioners Associated Electric Cooperative, Inc., et al. in Case No. 23-1195

 (see ECF No. 2045571 (Mar. 18, 2024)).

       Amici Curiae:

       The Chamber of Commerce of the United States of America is an

 amicus curiae in support of Petitioners challenging the Rule as overly

 stringent (i.e., all but Wisconsin). The Energy Infrastructure Council was an

 amicus curiae at the stay motion stage in support of Petitioners Interstate

 Natural Gas Association of America, American Petroleum Institute, Kinder

 Morgan, Inc., Enbridge (U.S.) Inc., and TransCanada Pipeline USA Ltd.




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           B. Ruling Under Review

       These consolidated cases involve petitions to review EPA’s final action

 entitled “Federal ‘Good Neighbor Plan’ for the 2015 Ozone National

 Ambient Air Quality Standards,” published at 88 FR 36,654 (June 5, 2023)

 (Rule), JA1551.

           C. Related Cases

       These consolidated cases have not been before this Court. However,

 several of these cases were transferred from the Sixth and Seventh Circuits.1

 The Rule’s application to individual states is also being challenged in several

 other circuits, and the state plan disapprovals forming the predicate for the

 Rule are also being challenged in circuit courts across the country, as set

 forth in the following paragraphs. Two related rules 2 that EPA promulgated




 1See ECF No. 2025739 (Order consolidating Case Nos. 23-1306 and 23-1307
 with Case No. 23-1157, et al.); ECF No. 2027164 (Order consolidating Case
 Nos. 23-1314, 23-1315, 23-1316, 23-1317 with Case No. 23-1157, et al.).
 2 See 88 FR 49,295, JA1816 (July 31, 2023) (staying application of the Rule to
 six States, among other actions); 88 FR 67,102, JA1831 (Sept. 29, 2023)
 (same—for six additional states).


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 staying the application of the Rule in certain states are also being challenged

 in this Court and are currently held in abeyance.

       1. Challenges to the Rule

       Fifth Circuit: Texas v. EPA, Case No. 23-60300 (5th Cir. filed June 7,

 2023) (consolidated cases, challenging Rule’s applicability in Texas,

 Mississippi, and Louisiana).

       Eighth Circuit: Arkansas v. EPA, Case No. 23-2769 (8th Cir. Aug. 2,

 2023) (challenging Rule’s applicability in Arkansas); Missouri v. EPA, 23-2771

 (8th Cir. Aug. 3, 2023) (challenging Rule’s applicability in Missouri); Energy

 Transfer LP v. EPA, No. 23-2773 (8th Cir. Aug. 3, 2023) (challenging Rule’s

 pipeline engine provisions in Arkansas); Energy Transfer LP v. EPA, No. 23-

 2774 (8th Cir. Aug. 4, 2023) (challenging Rule’s pipeline engine provisions in

 Missouri); Hybar LLC v. EPA, No. 23-2782 (8th Cir. Aug. 4, 2023) (challenging

 Rule’s applicability in Arkansas); Union Electric Co., d/b/a Ameren Missouri v.

 EPA, No. 23-2786 (8th Cir. Aug. 4, 2023) (challenging Rule’s applicability in




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 Missouri); ALLETE v. EPA, No. 23-2789 (8th Cir. Aug. 4, 2023) (challenging

 Rule’s applicability in Minnesota).

      Ninth Circuit: Nevada Cement Co. LLC v. EPA, No. 23-1098 (9th Cir. June

 5, 2023) (challenging Rule’s applicability in Nevada).

      Tenth Circuit: Tulsa Cement LLC v. EPA, No. 23-9551 (10th Cir. June 5,

 2023) (challenging Rule’s applicability in Oklahoma); PacifiCorp v. EPA, No.

 23-9557 (10th Cir. June 26, 2023) (challenging Rule’s applicability in Utah);

 State of Oklahoma v. EPA, No. 23-9561 (10th Cir. June 30, 2023) (challenging

 Rule’s applicability in Oklahoma); Energy Transfer LP v. EPA, No. 23-9569

 (10th Cir. July 27, 2023) (challenging Rule’s pipeline engine provisions in

 Oklahoma).

      Eleventh Circuit: State of Alabama v. EPA, No. 23-12528 (11th Cir. Aug.

 4, 2023) (challenging Rule’s applicability in Alabama); Alabama Power Co. v.

 EPA, No. 23-12531 (11th Cir. Aug. 4, 2023) (challenging Rule’s applicability

 in Alabama).

      2. Challenges to the underlying state plan disapprovals




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       Fourth Circuit: West Virginia v. EPA, No. 23-1418 (4th Cir. Apr. 14,

 2023).

       Fifth Circuit: Texas v. EPA, No. 23-60069 (5th Cir. Feb. 14, 2023).

       Sixth Circuit: Kentucky v. EPA, No. 23-3216 (6th Cir. Mar. 13, 2023); Ky.

 Energy & Env’t Cabinet v. EPA, No. 23-3225 (6th Cir. Mar. 17, 2023).

       Eighth Circuit: Arkansas v. EPA, No. 23-1320 (8th Cir. Feb. 16, 2023);

 Missouri v. EPA, No. 23-1719 (8th Cir. Apr. 13, 2023); Union Elec. Co., d/b/a

 Ameren Missouri v. EPA, No. 23-1751 (8th Cir. Apr. 13, 2023); Sw. Elec. Power

 Co. v. EPA, No. 23-1765 (8th Cir. Apr. 14, 2023); City Utils. of Springfield v.

 EPA, No. 23-1774 (8th Cir. Apr. 14, 2023); ALLETE, Inc. v. EPA, No. 23-1776

 (8th Cir. Apr. 14, 2023); Hybar LLC v. EPA, No. 23-1777 (8th Cir. Apr. 14,

 2023); Ark. League of Good Neighbors v. EPA, No. 23-1778, (8th Cir. Apr. 14,

 2023).

       Ninth Circuit: Nev. Cement Co. v. EPA, No. 23-682 (9th Cir. Apr. 17,

 2023).




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       Tenth Circuit: Utah v. EPA, No. 23-9509 (10th Cir. Feb. 13, 2023)

 (transferred to the D.C. Circuit as No. 24-1040); Oklahoma v. EPA, No. 23-9514

 (10th Cir. Mar. 2, 2023) (transferred to the D.C. Circuit as No. 24-1043); Okla.

 Gas & Elec. Co. v. EPA, No. 23-9521 (10th Cir. Mar. 16, 2023) (transferred to

 the D.C. Circuit as No. 24-1044); PacifiCorp v. EPA, No. 23-9512 (10th Cir. Feb.

 23, 2023) (transferred to the D.C. Circuit as No. 24-1041); Utah Associated

 Mun. Power Sys. v. EPA, No. 23-9520 (10th Cir. Mar. 15, 2023) (transferred to

 the D.C. Circuit as No. 24-1042); Wyoming v. EPA, No. 23-9529 (10th Cir. Apr.

 5, 2023) (voluntarily dismissed Jan. 19, 2024); PacifiCorp v. EPA, No. 23-9531

 (10th Cir. Apr. 6, 2023) (voluntarily dismissed Jan. 19, 2024); Tulsa Cement

 LLC v. EPA, No. 23-9533 (10th Cir. Apr. 13, 2023) (transferred to the D.C.

 Circuit as No. 24-1045); Western Farmers Electric Coop. v. EPA, No. 23-9534

 (10th Cir. Apr. 14, 2023) (transferred to the D.C. Circuit as No. 24-1046); Basin

 Elec. Power Co. v. EPA, No. 23-9537 (10th Cir. Apr. 14, 2023) (voluntarily

 dismissed Jan. 19, 2024).




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       Eleventh Circuit: Alabama v. EPA, No. 23-11173 (11th Cir. Apr. 13,

 2023); Ala. Power Co. v. EPA, No. 23-11196 (11th Cir. Apr. 14, 2023).

       D.C. Circuit: Utah v. EPA, No. 23-1102 (D.C. Cir. Apr. 13, 2023)

 (protective petition); Oklahoma v. EPA, No. 23-1103 (D.C. Cir. Apr. 13, 2023)

 (protective petition), Okl. Gas & Elec. Co. v. EPA, No. 23-1105 (D.C. Cir. Apr.

 14, 2023) (protective petition); Tulsa Cement LLC v. EPA, No. 23-1106 (D.C.

 Cir. Apr. 14, 2023) (protective petition); W. Farmers Elec. Coop. v. EPA, No. 23-

 1107 (D.C. Cir. Apr. 14, 2023) (protective petition); PacifiCorp v. EPA, No. 23-

 1112 (D.C. Cir. Apr. 14, 2023) (protective petition), Nevada v. EPA, No. 23-

 1113 (Apr. 14, 2023); Nevada Cement Co. v. EPA, No. 23-1115 (Apr. 14, 2023)

 (protective petition).

       3. Challenges to EPA’s two Interim Final Rules

       D.C. Circuit: Nat’l Mining Ass’n v. EPA, No. 23-1275 (consolidated with

 case Nos. 23-1276, 23-1277, 23-1278, 23-1279, 23-1321, 23-1323, 23-1324, 23-

 1325, 23-1326) (D.C. Cir. Sept. 29, 2023) (cases held in abeyance).




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      Undersigned counsel are not aware of any other related cases currently

 pending in this Court or in any other court.




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                  RULE 26.1 DISCLOSURE STATEMENTS

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and

 Circuit Rule 26.1, Industry Petitioners make the following statements:

      The American Chemistry Counsel (ACC) represents the leading

 chemical companies. ACC members apply chemistry science to make

 innovative products and services that make people’s lives better, healthier

 and safer. ACC is committed to improved environmental, health and safety

 performance through Responsible Care®; common sense advocacy

 addressing major public policy issues; and health and environmental

 research and product testing. The chemistry business is a $768 billion

 enterprise and a key element of the nation’s economy. It is the largest

 exporter in the nation, accounting for 14% percent of all U.S. goods exported.

 ACC states that it is a “trade association” for the purposes of Circuit Rule

 26.1(b). ACC has no parent corporation, and no publicly held company has

 10% or greater ownership in ACC.

      The American Forest & Paper Association is a continuing association

 of individuals operated for the purpose of promoting the general interests of


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 its membership. American Forest & Paper Association represents nearly 87%

 of the pulp, paper, packaging, and tissue products industry. American

 Forest & Paper Association is a “trade association” for the purposes of Rule

 26.1 and has no outstanding shares or debt securities in the hands of the

 public and has no parent company. No publicly held company has a 10% or

 greater ownership interest in American Forest & Paper Association.

       American Fuel & Petrochemical Manufacturers (AFPM) is a national

 trade association including most U.S. refiners and petrochemical

 manufacturers. AFPM has no parent companies, and no publicly held

 company has a 10% or greater ownership interest in AFPM. AFPM is a “trade

 association” within the meaning of Circuit Rule 26.1(b). AFPM is a

 continuing association operating for the purpose of promoting the general

 commercial, professional, legislative, or other interests of its membership.

       American Iron and Steel Institute is an association whose members

 promote the general interests of its membership. American Iron and Steel

 Institute has no outstanding shares or debt securities in the hand of the




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 public and has no parent company. No publicly held company has a 10% or

 greater ownership interest in the American Iron and Steel Institute.

       American Petroleum Institute (API) is a national trade association

 that represents all segments of America’s natural gas and oil industry. API

 has no parent corporation, and no publicly held corporation has a 10% or

 greater ownership in API.

       America’s Power is a nonprofit membership corporation organized

 under the laws of the District of Columbia and is recognized as a tax-exempt

 trade association by the Internal Revenue Service under Section 501(c)(6) of

 the Internal Revenue Code. America’s Power is the only national trade

 association whose sole mission is to advocate at the federal and state levels

 on behalf of coal-fueled electricity, the coal fleet, and its supply chain.

 America’s Power supports policies that promote the use of coal to assure a

 reliable, resilient, and affordable supply of electricity to meet our nation’s

 demand for energy. America’s Power is a “trade association” within the

 meaning of Circuit Rule 26.1(b). It has no parent corporation, and no publicly




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 held company owns a 10 percent or greater interest in America’s Power.

      Arizona Public Service Company is a wholly-owned subsidiary of its

 parent corporation, Pinnacle West Capital Corporation. No publicly held

 corporation other than Pinnacle West Capital Corporation owns 10% or

 more of Arizona Public Service Company’s stock.

      Arkansas League of Good Neighbors (ALGN) is a nonprofit

 association located in Arkansas and dedicated to advancing members’

 interests in environmental and energy legal matters. ALGN has no

 outstanding shares or debt securities in the hands of the public and has no

 parent company. No publicly held company has a 10% or greater ownership

 interest in ALGN.

      Associated Electric Cooperative (AECI) is a rural electric cooperative

 that provides wholesale power and high-voltage transmission to its six

 regional generation and transmission cooperative member-owners. In

 addition to providing power sales and transmission service to its member

 cooperatives, AECI also takes and provides transmission service through




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 enabling transmission agreements with and makes off-system power sales

 to various counterparties in the United States. These six regional generation

 and transmission cooperatives, in turn, supply wholesale power to thirty-

 nine distribution cooperatives in Missouri, three distribution cooperatives in

 southeast Iowa, and nine distribution cooperatives in northeast Oklahoma,

 serving more than 910,000 customers. AECI has no parent company and no

 publicly held company has a 10% or greater ownership interest in AECI.

       Buckeye Power, Inc. is an Ohio nonprofit corporation operating on a

 cooperative basis, a so-called generation and transmission electric

 cooperative or G&T, that provides wholesale electric service to its twenty-

 five members constituting all of the electric distribution cooperatives

 engaged in the retail sale of electricity within the State of Ohio, twenty-four

 of which are also Ohio nonprofit corporations operating on a cooperative

 basis. Buckeye owns or controls the output of natural gas-fired and coal-fired

 power plants to supply the wholesale power requirements of its members.

 It is wholly owned by its twenty-five-member electric distribution




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 cooperatives, none of which are publicly traded. Buckeye Power, Inc. does

 not have a parent corporation and no publicly held corporation owns 10%

 or more of its stock or other membership interests.

       Deseret Power Electric Cooperative certifies that it is a nonprofit,

 regional generation and transmission cooperative, owned by its five member

 systems, serving approximately 65,000 customers in Utah, Colorado,

 Wyoming, Nevada, and Arizona. Neither Deseret, nor its member

 cooperatives issue stock, and therefore no publicly-traded company owns

 10% or more of their stock.

       Enbridge (U.S.) Inc. is a wholly-owned subsidiary of Enbridge Inc., a

 diversified energy company headquartered in Calgary, Canada. Enbridge

 (U.S.) Inc.’s holdings include natural gas pipelines regulated by the Federal

 Energy Regulatory Commission. Enbridge Inc. is a publicly traded company

 that trades on the New York and Toronto stock exchanges. Enbridge, Inc.

 has no parent companies and no publicly held company owns a 10% or

 greater interest in Enbridge, Inc.




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      Energy Transfer LP is a publicly held corporation. Energy Transfer

 does not have a parent corporation, and no publicly held corporation owns

 10% or more of its stock.

      Hybar LLC is a steel manufacturer currently constructing a scrap-steel

 to rebar steel facility in Arkansas. Hybar LLC is 100% owned by Hybar

 Intermediate Holdings LLC, which is 100% owned by Green & Clean

 Holdings LLC. No publicly held corporation owns 10% or more of the stock

 of Hybar LLC, Hybar Intermediate Holdings LLC, or Green & Clean

 Holdings LLC.

      Interstate Natural Gas Association of America (INGAA) is a national

 trade association that represents interstate natural gas transmission pipeline

 companies. INGAA members own and operate the vast majority of the

 interstate natural gas transmission and storage segment in the U.S. and

 Canada. INGAA member companies transport more than 95 percent of the

 nation’s natural gas through approximately 200,000 miles of interstate

 natural gas pipelines. In 46 of the 48 contiguous United States, INGAA




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 member companies operate over 5,400 natural gas compressors at over 1,300

 compressor stations and storage facilities along the pipelines to transport

 natural gas to local gas distribution companies, industrials, gas marketers,

 and gas-fired electric generators. The compressor units operated by INGAA

 members include reciprocating internal combustion engines (engines) that

 are regulated by EPA’s Rule being challenged in this case. INGAA has no

 parent corporation, and no publicly held corporation has a 10% or greater

 ownership in INGAA.

      Kinder Morgan, Inc. is a publicly held corporation. Kinder Morgan

 does not have a parent corporation, and no publicly held corporation holds

 10% or more of Kinder Morgan’s stock.

      Midwest Ozone Group is a “trade association” within the meaning of

 Circuit Court Rule 26.1(b) whose members promote the general interests of

 their electric power and industrial sources. The Midwest Ozone Group has

 no outstanding shares or debt securities in the hand of the public and has no

 parent company.




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       The National Mining Association (NMA) is a nonprofit national trade

 association that represents the interest of the mining industry, including

 every major coal company operating in the United States. NMA has

 approximately 280 members, whose interests it represents before Congress,

 the administration, federal agencies, the courts, and the media. NMA is not

 a publicly held corporation and has no parent corporation. No publicly held

 company has 10% or greater ownership interest in NMA.

       The National Rural Electric Cooperative Association (NRECA) is the

 nonprofit national trade association for electric cooperatives. On behalf of its

 members, NRECA participates in administrative and judicial proceedings

 involving or affecting its members’ interests. NRECA has no parent

 company. No publicly held company has a ten percent (10%) or greater

 ownership interest in NRECA. NRECA is an incorporated entity.

       Ohio Valley Electric Corporation (OVEC) is a corporation originally

 formed by a consortium of utility companies for purposes of constructing

 and operating electric generating units to serve the electric energy needs of




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 uranium processing facilities owned by the United States Department of

 Energy. OVEC owns the Kyger Creek generating station in Ohio, and

 OVEC’s wholly owned subsidiary Indiana-Kentucky Electric Corporation

 owns the Clifty Creek generating station in Indiana. OVEC has no parent

 company. American Electric Power Company, Inc., and Buckeye Power, Inc.,

 each owns greater than 10 percent of the equity in OVEC.

      The Portland Cement Association (PCA) is the premier policy,

 research, education, and market intelligence organization serving America’s

 cement manufacturers. PCA represents a majority of U.S. cement production

 capacity. PCA promotes safety, sustainability, and innovation in all aspects

 of construction, fosters continuous improvement in cement manufacturing

 and distribution, and generally promotes economic growth and sound

 infrastructure investment. PCA states that it is a “trade association” for

 purposes of Circuit Rule 26.1(b). PCA has no parent corporation, and no

 publicly held company owns a 10% or greater interest in PCA.




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         Salt River Project Agricultural Improvement and Power District is

 an Arizona agricultural improvement district established pursuant to Title

 48, Chapter 17, of the Arizona Revised Statutes. It is a political subdivision

 of the State of Arizona.

         TransCanada PipeLine USA Ltd. is an indirectly owned subsidiary of

 TC Energy Corporation. TC Energy Corporation is a federally registered

 Canadian corporation, with its headquarters in Calgary, Alberta. TC Energy

 Corporation is a publicly held corporation with no parent corporation. No

 entity or firm has an ownership interest in TC Energy Corporation of 10% or

 more.

         Union Electric Company, d/b/a Ameren Missouri, a Missouri

 corporation, is a public utility that provides wholesale and retail electric

 service in central and eastern Missouri. Union Electric Company’s parent

 company is Ameren Corporation, and the only subsidiary of Union Electric

 Company that is not wholly owned by the company is STARS Alliance, LLC,

 in which the company owns a 25% interest. The only publicly held company




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 that has a 10% or greater ownership interest in Union Electric Company is

 Ameren Corporation.

      United States Steel Corporation is a publicly held company. United

 States Steel Corporation has no parent company and no publicly held

 company has a 10% or greater ownership interest in it.

      Wabash Valley Power Association Alliance d/b/a Wabash Valley

 Power Alliance (WVPA) certifies that it is a nonprofit, generation and

 transmission cooperative, owned by twenty-three member-owned rural

 cooperative systems, serving more than 330,000 homes, businesses, farms,

 and schools – impacting more than a million people – across 50 counties in

 Indiana, 30 counties in Illinois, and four counties in Missouri. Neither

 WVPA, nor its member cooperatives issue stock, and therefore no publicly-

 traded company owns 10% or more of their stock.




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                               GLOSSARY

   Act                    Clean Air Act

   EGUs                   electric generating units

   EPA                    United States Environmental Protection Agency

   FERC                   Federal Energy Regulatory Commission

   JA                     Joint Appendix

   NAAQS                  National Ambient Air Quality Standards

   Non-EGUs               non-electric generating units

   NOx                    nitrogen oxides

   ppb                    parts per billion




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                                      JURISDICTION

         These petitions challenge the “Federal ‘Good Neighbor Plan’ for the

 2015 Ozone National Ambient Air Quality Standards,” an EPA regulation

 (the Rule) under the Clean Air Act (the Act). 88 FR 36,654 (June 5, 2023),

 JA1551. The petitions were timely filed under 42 U.S.C. § 7607(b)(1), under

 which this Court has jurisdiction.

                              QUESTIONS PRESENTED

         1.      Whether the Rule is unlawful because EPA justified it as an

 “integrated” 23-State Rule and neither assessed nor justified partial

 application of the Rule to fewer than 23 States, yet EPA’s Rule now applies

 to just 11 States.

         2.      Whether the Rule over-controls electric generating units (EGUs)

 by requiring emissions reductions below the levels of “significant

 contribution” that EPA itself defined.

         3.      Whether the Rule is unlawful because EPA departed, without

 explanation, from its traditional “cost-effectiveness” analysis to determine

 other        industrial   sources’   (non-EGUs’)    “amount”      of   “significant


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 contribution” and instead relied on an impermissible and unexplained

 “average cost” analysis; and because EPA estimated non-EGU costs-per-ton

 based on annual emissions rather than actual ozone-season emissions, as it

 calculated for EGUs.

       4.    Whether the Rule is unlawful because EPA’s EGU budget

 “enhancements” eliminate the trading flexibility EPA used to justify

 balancing out cost variations for EGUs.

       5.    Whether the Rule unlawfully subjects certain non-EGUs to the

 Rule because EPA’s capacity-based proxy for its 100 tons-per-year threshold

 is grossly inaccurate for engine and boiler non-EGU sources; and because

 EPA relied on error-ridden emissions data when determining which

 industries to include.

       6.    Whether the Rule is unlawful because EPA ignored important

 feasibility and reliability concerns.

       7.    Whether EPA deprived the public of an opportunity to comment

 because the Rule includes provisions that were not included in EPA’s



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 original proposal (and are not logical outgrowths thereof), and because the

 Rule includes as-at-yet undefined requirements (with no future notice-and-

 and comment process).

      8.    Whether this Court should defer deciding Hybar’s petition.

                     STATUTES AND REGULATIONS

      Applicable statutes, 42 U.S.C. §§ 7407 to 7410, 7413, 7426, 7607, and

 regulations, 40 C.F.R. § 52.40 et seq., appear in the Addendum.

                        STATEMENT OF THE CASE

      I.    Statutory Background

      The Act codifies “cooperative federalism.” EPA v. EME Homer City

 Generation, L.P., 572 U.S. 489, 511 n.14 (2014). EPA establishes national

 ambient air-quality standards (NAAQS) for certain pollutants, including

 ozone. 42 U.S.C. §§ 7408, 7409. Within three years, each State then develops

 an implementation plan that “specif[ies] the manner in which [the NAAQS]

 will be achieved and maintained.” Id. §§ 7407(a), 7410(a)(1). State plans must

 satisfy several statutory requirements, including the “Transport” provision,

 which requires plans to prohibit sources in the State from emitting air



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 pollutants     “in     amounts     which        will…contribute     significantly    to

 nonattainment” or “interfere with maintenance,” of the NAAQS by “any

 other State.” Id. § 7410(a)(2)(D)(i)(I).

        EPA “shall approve” a State plan within 18 months “if it meets all of

 the applicable requirements.” Id. § 7410(k)(3); see also Union Elec. Co. v. EPA,

 427 U.S. 246, 257 (1976). Only if EPA lawfully determines a State plan

 violates the Act may EPA promulgate a “Federal implementation plan” for

 that State. 42 U.S.C. § 7410(c)(1). A federal plan cannot “over-control” the

 State by requiring it “to reduce its output of pollution more than is

 necessary” to ensure the State will not “contribute significantly” to another

 State’s inability to attain or maintain the NAAQS. EME Homer, 572 U.S. at

 521.

        In    earlier   Transport   rules,       EPA   conducted      its   “significant

 contribution” analysis by assessing both the cost of controls and their effect

 on downwind air quality. It used modeling to identify the “upwind” States

 that contribute more than de minimis amounts of ozone to “downwind”




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 States with difficulty attaining the NAAQS. See id. at 500. EPA then identified

 emissions controls it claimed would be “cost-effective,” meaning controls

 that if applied by sources in every upwind State, produce a “combined

 effect…on air quality in downwind States.” Id. at 501; 88 FR 36,683, JA1580

 (discussing the cost threshold, referred to as the “knee in the curve,” where

 controls “become excessively costly on a per-ton basis” and fail to deliver

 meaningful “air quality benefits”).

       For EGUs, EPA used that “cost-effectiveness” methodology to create

 an annual emissions “budget” for each upwind state, representing “the

 quantity of pollution an upwind State would produce in a given year if its

 in-state sources implemented all pollution controls available at the chosen

 cost thresholds.” EME Homer, 572 U.S. at 502. Finally, EPA allocated each

 upwind State’s budget among in-state sources and created a “cap-and-

 trade” system, giving EGUs flexibility to meet their obligations by

 purchasing “allowances” from other EGU sources that are subject to the

 federal plan. Id. at 503 & n.10.




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         The Supreme Court upheld this cost-threshold approach to

 “significant contribution” in 2014. Id. at 524.

         II.    State Plan Disapprovals and the Federal Plan

         In October 2015, EPA lowered the ozone NAAQS from 75 to 70 parts

 per billion (ppb), 80 FR 65,292, 65,293-94 (Oct. 26, 2015), requiring States to

 develop new plans by October 2018. 42 U.S.C. § 7410(a)(1). Although EPA

 had to approve or disapprove State plans by April 2020, id. § 7410(k)(1)-(3),

 it missed that deadline by years. Finally, in 2022, EPA proposed to

 disapprove 23 states’ plans;3 commenters warned EPA these proposed

 disapprovals were unlawful. See, e.g., EPA, 2015 Ozone NAAQS Interstate

 Transport SIP Disapprovals – Response to Comment, 12, 15, 29, 33, 57, 81, 189

 (2023), JA2207-2213.

         Before EPA even made a final decision to disapprove State plans (and

 even before EPA proposed disapproving some State plans), EPA proposed a

 comprehensive federal plan to regulate sources across 23 States through a



 3   See 88 FR 9,336, 9,337 nn.5-6 (Feb. 13, 2023).


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 single multi-state program. 87 FR 20,036 (Apr. 6, 2022), JA115. Commenters

 again warned EPA that it lacked authority to issue a federal plan because the

 State plan disapprovals—the legal predicate for a federal plan—were

 unlawful. See Response to Comments 2-6, 9-11, 145-48, 152-55, JA1322-1326,

 1329-1331, 1394-1397, 1401-1404.

       Despite these warnings, EPA disapproved 21 State plans in February

 2023. 88 FR 9,336. A mix of States and industry petitioners challenged 12

 State plan disapprovals. By late May 2023, the Fifth, Sixth, and the Eighth

 Circuits had stayed the disapprovals for five States.4

       EPA nonetheless published its 23-State federal plan on June 5, 2023,

 effective August 4, 2023. 88 FR 36,654, JA1551. EPA justified the Rule based

 on the purported “meaningful” air-quality improvements that would result

 “collectively” from including all 23 States. See id. at 36,683, 36,748, JA1580,



 4Texas v. EPA, No. 23-60069 (5th Cir. May 1, 2023) (Texas and Louisiana);
 Arkansas v. EPA, No. 23-1320 (8th Cir. May 25, 2023); Missouri v. EPA, No. 23-
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 2023) (administrative stay pending consideration of stay motion, ultimately
 granted July 2023, see infra n.5).


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 1645. That total air quality improvement was an estimated average 0.66 ppb

 compared to a 70 ppb air-quality standard. Id. at 36,747, JA1644.

      In the Rule, EPA said it was adopting the same methodology the

 Supreme Court upheld in EME Homer. See id. at 36,741, JA1638. But it

 departed from that methodology in numerous critical respects.

      For EGUs, EPA used “preset emissions budgets” for each State. Id. at

 36,662, JA1559. EPA claims the emissions reductions required by each

 statewide budget is the amount necessary to eliminate that State’s alleged

 significant contribution. Id. at 36,657, JA1554. Based on these budgets, EPA

 then allocated emissions allowances to individual EGUs, allowing

 powerplants emitting below their allocation to sell or trade unused

 allowances to other EGUs. Id. at 36,801, JA1698. On top of those budgets, EPA

 imposed “enhancements” that ratchet down the budgeted allowances for

 2026 even further. Id. at 36,657, 36,667, JA1554, 1564. These enhancements

 include “Dynamic budgeting,” “Bank recalibration,” and “backstop daily

 emission rates,” all of which reduce available, or usable, allowances for




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 EGUs. The intent, and result, of these “enhancements” is that “pollution

 controls will be operated”—even if a State no longer contributes significantly

 to downwind State nonattainment or maintenance challenges. See id. at

 36,662, JA1559.

      Also, unlike prior Transport rules, the Rule for the first time covers

 other industrial sources (non-EGUs), including engines used for pipeline

 transportation of natural gas (Pipelines); cement kilns (Cement); reheat

 furnaces in iron and steel manufacturing; and boilers for iron and steel

 manufacturing (Steel), basic chemical manufacturing, petroleum and coal

 products manufacturing, and pulp, paper, and paperboard mills (Paper). Id.

 at 36,658, JA1555. To determine which non-EGUs to regulate, EPA

 conducted a so-called “Screening Assessment” that purported to identify

 “potentially impactful industries and emissions unit types for further

 evaluation.” Id. at 36,740, JA1637. EPA focused on units that emit over 100

 tons-per-year of NOx, and for which emissions reductions can be achieved




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 at a cost of no more than $7,500 per ton. Screening Assessment 3-4, JA48-49.

 But its Rule covers a number of sources that should have been screened out.

       For Pipelines and Steel and Paper boilers, for instance, rather than

 identify sources emitting 100 or more tons-per-year of NOx, EPA applied

 “proxies” that it asserted “reasonably approximate[d]” the 100-ton-per-year

 threshold—even while recognizing those proxies were over-inclusive. 88 FR

 36,821, JA1718. The result: less than 10% of engines and 23% of boilers

 regulated under the Rule emit at or above EPA’s Screening Assessment level

 of 100 tons-per-year of NOx. See Non-EGU Facilities and Units.xslx, JA680,

 EPA-HQ-OAR-2021-0668-1174.

       Further, EPA also ignored comments from Paper showing only

 minimal impacts from its boilers. Response to Comments 118-20, JA1375-

 1377. For Steel, EPA failed to conduct its own modeling to demonstrate a

 need for emissions controls and ignored modeling demonstrating the

 contrary. Id. at 133, JA1386. EPA also vastly overcounted emissions but failed

 to correct its assessment. See 88 FR 36,827, JA1724.




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       EPA also changed, without explanation, its reliance on a “cost-

 effectiveness” analysis. In prior Transport rules, to determine the “amounts”

 of emissions that significantly contribute to downwind air-quality, EPA used

 a “cost threshold” called the “knee in the curve” to identify emissions

 controls that “achieved a reasonable balance of incremental NOx reduction

 potential and corresponding downwind air quality improvements.” Id. at

 36,678, JA1575; see EME Homer, 572 U.S. at 501. At proposal, EPA set this

 threshold at $7,500/ton for non-EGUs, proposing a set of controls it thought

 were below that threshold. Id. But after commenters demonstrated the costs

 for many sources would significantly exceed $7,500/ton, EPA concluded that

 the $7,500/ton threshold did “not reflect the full range of cost-effectiveness

 values” for non-EGUs. 88 FR 36,740, JA1637. EPA nevertheless adopted the

 same emissions controls identified at proposal, deviating drastically from

 the methodology it asserts it applied, rationalizing that the “average cost-

 per-ton” was tolerable. Id. at 36,746, JA1643.




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       Further, the average cost-per-ton estimates that EPA found

 unrepresentative were based on annual emissions rather than emissions

 during the limited five months (May to September) the Rule regulates.

 Applicability Criteria Summary 11 tbl.8, JA905.

       The Rule’s compliance deadline for EGUs began in August 2023, with

 more stringent requirements based on installation of emissions controls

 beginning in May 2026, and with the limited potential for discretionary

 extensions “based on a case-by-case demonstration of necessity” totaling up

 to three additional years. Id. at 36,755, 36,758, JA1652, 1655. Although the

 compliance work has already begun, for non-EGUs, the deadline for the

 thousands of subject units is May 1, 2026, with discretionary, “case-by-case”

 emissions-limit exceptions and exemptions in “unique” and “limited”

 circumstances for “technical impossibility or extreme economic hardship.”

 Id. at 36,818-19, JA1715-1716.

       Finally, the Rule also includes a severability clause, though EPA did

 not initially propose one. EPA regards its uniform, 23-State Rule as a




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 “complete remedy….” Id. at 36,693, JA1590. Nevertheless, EPA “believes

 that the remaining aspects…can and should continue to be implemented to

 the extent possible” if “a court find[s] any discrete aspect of this [Rule] to be

 invalid.” Id. EPA “views” the Rule as severable along “state and/or tribal

 jurisdictional lines” and “as between the different industries and different

 types of emissions control requirements.” Id. In reaching its severability

 belief, EPA performed no cost-effectiveness analyses, nor did EPA examine

 impacts on downwind air quality for a Rule regulating fewer than 23 States.

 See id.

       III.   The Rule As It Now Exists

       EPA designed the Rule to “ensure[ ]…national consistency across all

 states.” Id. at 36,673, JA1570. Its stated purpose “is to address the interstate

 transport of ozone on a national scale.” Id. at 36,691, JA1588. As EPA has

 explained, its Rule is a “national-scale, multi-state” federal plan addressing

 “interstate transport of ozone-causing pollutants through a series of

 integrated   multi-state   emissions    allowance     trading       programs   for

 powerplants [and] uniform requirements for certain, high-emitting non-


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 powerplant industrial sources.” Doc. 2018488, at 2-3, Utah v. EPA, No. 23-

 1157 (D.C. Cir. Sept. 22, 2023).

       In the wake of the federal Rule, however, the wave of circuits staying

 State plan disapprovals continued. Seven federal circuits have now stayed

 12 State plan disapprovals,5 leading EPA to issue two interim final rules,

 acknowledging it cannot impose its Rule in those 12 States without

 additional process. 6

       The federal plan applicable to the remaining 11 States bears little

 resemblance to the “integrated” Rule EPA designed. Nearly 90% of



 5 Texas v. EPA, No. 23-60069 (5th Cir. June 8, 2023) (Mississippi); Nevada
 Cement Company v. EPA, No. 23-682 (9th Cir. July 3, 2023) (Nevada); Allete,
 Inc. v. EPA, No. 23-1776 (8th Cir. July 5, 2023) (Minnesota); Kentucky v. EPA,
 No. 23-3216 (6th Cir. July 25, 2023); Oklahoma v. EPA, No. 23-9514 (10th Cir.
 July 27, 2023); Utah v. EPA, No. 23-9509 (10th Cir. July 27, 2023); Alabama v.
 EPA, No. 23-11173 (11th Cir. Aug. 17, 2023); West Virginia v. EPA, 90 F.4th
 323 (4th Cir. 2024) (administrative stay previously issued Aug. 2023).
 6 88 FR 49,295, JA1816 (July 31, 2023) (Arkansas, Kentucky, Louisiana,
 Mississippi, Missouri, Texas); 88 FR 67,102, JA1831 (Sept. 29, 2023)
 (Alabama, Minnesota, Nevada, Oklahoma, Utah, West Virginia); see also id.
 at 67,103 (“EPA will take further action consistent” with final circuit court
 determinations on the state plan disapprovals).


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 powerplant emissions that EPA contemplated serving as both the basis for

 its emissions limitations and for a robust allowance trading market have

 been removed from the program. Similarly, 60% of the emissions reductions

 from all other sources are now excluded from the Rule. See EPA, Good

 Neighbor       Plan       for      2015        Ozone        NAAQS          Maps,

 https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs

 (reductions by State for EGUs and non-EGUs).

                           STANDARD OF REVIEW

       The Rule is subject to reversal if it is “arbitrary, capricious, an abuse of

 discretion, or otherwise” unlawful or “in excess of statutory jurisdiction,

 authority, or limitations.” 42 U.S.C. § 7607(d)(9).


                         SUMMARY OF ARGUMENT

       1. EPA’s Rule now applies to just 11 of the 23 States that EPA intended

 to regulate. EPA had notice this would occur: Commenters explained that

 EPA’s proposed State plan disapprovals, the legal predicate for the Rule,

 were unlawful. See Response to Comments 2-6, 9-11, 145-48, 152-55, JA1322-

 1326, 1329-1331, 1394-1397, 1401-1404. Despite those warnings, EPA


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 performed no analysis to support a plan that applies to fewer than 23 States.

 Instead, it just inserted a conclusory severability statement in the Rule. 88 FR

 36,693, JA1590. Because EPA failed to undertake the analysis to justify the

 Rule with anything fewer than the 23 States EPA modeled, the Rule should

 be set aside.

       2. Regardless of the number of States participating, the Rule violates

 the Act and is arbitrary and capricious in numerous respects.

       First, the Rule imposes over-control; it requires more emissions

 reductions from EGUs than needed to eliminate each State’s significant

 contribution to downwind air quality. EPA explained the reductions that

 would be achieved by the 2026 preset emissions budgets would deliver a

 “full remedy” to the downwind States. 88 FR 36,719, JA1616. But EPA goes

 beyond this full remedy by imposing additional “enhancements” on EGUs

 that force even further emission cuts on top of the 2026 budgets. Id. at 36,657,

 JA1554. “Dynamic budgeting” will reduce allowable emissions below levels

 of significant contribution. Id. “Bank recalibration” takes unused allowances




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 out of the marketplace to force continuous operation of controls, making

 budgets more stringent. Id. And “backstop daily emission rates” will require

 further emissions reductions with no regard for significant contribution. Id.

 All these “enhancements” constitute over-control.

       Second, the Rule’s cost analysis contains several significant legal and

 procedural errors. The Rule forces controls on non-EGUs under a new,

 flawed “average cost” analysis, requiring sources to install controls that cost

 vastly more than EPA’s proposed $7,500/ton cost threshold, while failing to

 analyze the associated air quality benefits that result from these indisputably

 costly controls. 88 FR 36,739-40, JA1636-1637. That is not the “cost-

 effectiveness” analysis the Supreme Court endorsed in EME Homer, and it is

 not consistent with the Act. EPA’s non-EGU cost assessment also identifies

 an annual cost-per-ton value even though the Rule only requires reductions

 during the five-month ozone season from May to September. Applicability

 Criteria Summary 11 tbl.8, JA905. By spreading the costs over a full year of

 emissions, EPA underestimated the per-ton costs of controls necessary to




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 meet the Rule’s ozone-season emissions limits.

      EPA’s cost-effectiveness analysis for EGUs is also flawed. EPA

 repeatedly made clear that it was relying on the flexibilities of the EGU

 trading program to smooth out cost variations across sources. E.g., 88 FR

 36,729, JA1626. The “enhancements” to the EGU program, however,

 eliminate that flexibility—and EPA declined to analyze those effects in the

 Rule. This, too, renders EPA’s cost assessment arbitrary and capricious.

      Third, EPA unlawfully subjected certain non-EGUs to the Rule. In the

 Screening Assessment, EPA decided which sources to regulate and focused

 on units emitting over 100 tons-per-year of NOx. Screening Assessment 3-4,

 JA48-49. For some sources, however, EPA used size-proxies that it claimed

 “reasonably approximate[d]” 100 tons-per-year. 88 FR 36,820. EPA was

 wrong. Less than 10% of subject engines and 23% of subject boilers emit at

 or above 100 tons-per-year of NOx.

      Analogous to over-control, EPA also subjected Paper and Steel units

 to the Rule despite acknowledging the data it used to include them was




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 wrong, and despite record evidence that those industries were not

 contributing significantly to downwind nonattainment or maintenance

 issues. Response to Comments 118-120, 333, JA 1375-1377, 1462.

       Fourth, EPA ignored crucial Pipeline and powerplant reliability issues

 that will impact the public, an issue heightened by impossible deadlines.

 Commenters demonstrated that retrofitting Pipelines, for instance, will

 necessitate taking numerous engines offline, disrupting natural gas markets

 and energy supply. INGAA Comment 42, JA434. Commenters and grid

 regulators also warned of the Rule’s threat to electricity reliability, given the

 inflexibilities imposed by EGU budgets plus enhancements. E.g., PJM

 Comment 1, JA398. But, confronted with information that its reliability

 conclusions were far too optimistic, EPA simply stood by its proposed

 compliance deadlines.

       Fifth, EPA deprived the public of the opportunity to comment on its

 Rule in critical respects. EPA’s budget “enhancements” for EGUs and “work

 plan” process for Steel are currently mere concepts—precisely how




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 devastating those rule concepts will be for industry has been left to future

 actions upon which EPA will not allow comment. Commenters were also

 deprived of the opportunity to comment on the applicability requirements

 for Steel boilers. The rulemaking process demands more of EPA.

       For all of these reasons, the Rule should be vacated.

                                  STANDING

       Petitioners include owners (and associations of owners) of sources that

 the Rule regulates. As directly regulated parties, Industry Petitioners suffer

 concrete, particularized injury-in-fact, remediable by a favorable ruling. See

 Sierra Club v. EPA, 292 F.3d 895, 899-900 (D.C. Cir. 2002) (standing in such

 cases “is self-evident”); accord Am. Fuel & Petrochem. Mfrs. v. EPA, 3 F.4th 373,

 379 (D.C. Cir. 2021) (when a petitioner is “directly regulated by the

 challenged rule,” standing is “self-evident”).

                                  ARGUMENT

       I.    Incorporation By Reference.

       This brief incorporates by reference the briefs filed by the State

 Petitioners (other than Wisconsin). Circuit Handbook 38.



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          II.    EPA Failed to Justify The Rule’s Application to Fewer than 23
                 States.

          EPA modeled and justified the Rule based on the purported

 “meaningful” air-quality improvements that would result “collectively”

 from including all 23 States. See 88 FR 36,683, 36,748, JA1580, 1645. EPA

 claimed those collective reductions “across the hundreds of EGU and non-

 EGU industrial sources” would lead to “cumulative improvements in ozone

 levels     at   downwind     receptors…[that]   are   both   measurable     and

 meaningful…” Id. at 36,741, JA1638. Accordingly, EPA’s analysis of

 “whether the rule achieves a full remedy to eliminate ‘significant

 contribution’ while avoiding over-control” of any State assumed “the

 identified reductions” from all 23 States in the Rule as “combined and

 collectively analyzed to assess their effects on downwind air quality.” Id. at

 36,719, JA1616; see id. at 36,743, 36,747-48, JA1640, 1644-1645 (listing

 “aggregate” and “collective” air-quality improvements).

          Moreover, EPA’s air-quality modeling assessed emissions reduction

 requirements for sources subject to the Rule in all 23 upwind States. Air



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 Quality Technical Support Document 27-28, JA941-942. EPA did not conduct

 similar modeling to conﬁrm whether any meaningful air-quality

 improvement would result if the Rule applied to fewer than 23 States. EPA

 would need to re-do its analysis to support a diﬀerent Rule, and it is not

 Industry Petitioners’ obligation to guess at the results. See Motor Vehicle Mfrs.

 Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); Dist. Hosp.

 Partner, LP v. Burwell, 786 F.3d 46, 59 (D.C. Cir. 2015) (court will not “uphold

 agency action if it fails to consider ‘significant and viable obvious

 alternatives’”).

       Commenters criticized EPA’s approach early in the process,

 explaining it was “legally necessary and appropriate that EPA revise” its

 proposed rule in light of the serious legal challenges to its State plan

 disapprovals. Midwest Ozone Group Comment 10-13, JA303-306; Air

 Stewardship Comment 14, JA438 (rejection of State plan disapprovals

 “would require [EPA] to conduct a new assessment and modeling of

 contribution”); Missouri Dept. Nat. Res. Comment 14, JA298; United States




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 Steel Corporation (USS) Comment 43, JA629; supra 15. Commenters’

 concerns were borne out before EPA even published the Rule in the Federal

 Register. By then, three courts had stayed the disapprovals in five States.

 Supra n.4.

       EPA responded to commenters’ concerns by adding a conclusory

 severability statement in the Rule: “[S]hould a court find any discrete aspect

 of this document to be invalid,…the remaining aspects of this rule can and

 should continue to be implemented to the extent possible.” 88 FR 36,693,

 JA1590. Further, “[s]hould any jurisdiction-specific aspect of the final rule be

 found invalid, the EPA views this rule as severable along those State and/or

 tribal jurisdictional lines, such that the rule can continue to be implemented

 as to any remaining jurisdictions.” Id. Similarly, EPA considered the Rule

 severable “as between the different industries and different types of

 emissions control requirements.” Id.

       Seven federal circuits have now stayed EPA’s State plan disapprovals

 in 12 States, removing nearly 90% of projected emissions reductions from




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 EGUs and 75% of overall reductions. The question, then, is whether EPA has

 adequately justified moving forward with the 11-State version of its

 “integrated” 23-State Rule. It has not. 7 EPA provided no explanation for its

 perfunctory conclusion that the Rule is “severable” along State lines, or

 along industry lines, or along any other lines. Just three business-days before

 this brief was due, EPA published a lengthy rationale for its partial denial of

 reconsideration petitions, illustrating the type of analysis EPA did not

 perform to support its conclusory severability view in the Rule. See Basis for

 Reconsideration     Petition   Denial,    JA1989-2028    (Mar.     27,   2024),

 https://bit.ly/4aB7lh4. EPA’s brand-new analysis is rife with “post hoc

 rationalizations” and is no basis for upholding EPA’s view on severability

 here. Clean Wisconsin v. EPA, 964 F.3d 1145, 1161 (D.C. Cir. 2020).

       Even if EPA’s ipse dixit were enough, implementing an 11-State version



 7Four entities, including Hybar and U. S. Steel, petitioned EPA to reconsider
 the Rule given the State plan disapproval stays. Late last week, EPA partially
 denied the petitions on this issue (https://www.epa.gov/Cross-State-Air-
 Pollution/response-four-petitions-reconsideration). EPA has not acted on
 the remaining issues in those petitions.


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 of the Rule is unreasonable. First, there is no record basis to conclude that

 the 11 states still in the Rule would “significant[ly] contribut[e]” to

 downwind nonattainment or maintenance. As EPA itself observed, “[n]ot

 every upwind state has the same mix of non-EGU industries and emissions

 unit types,” 88 FR 36,683, JA1580, meaning any cost-effectiveness analysis

 may, and likely would, reach a different result for just 11 States.

       Second, EPA purports to examine “how many emissions reductions

 may be obtained, and how air-quality is ultimately impacted” in

 determining which emissions controls to require. Id. But where 75% of

 reductions are unavailable, and the Rule even if fully implemented would only

 have reduced ozone concentrations on average by 0.66 ppb, id. at 36,747,

 JA1644, the Rule unreasonably imposes high costs for little apparent benefit,

 see Michigan v. EPA, 576 U.S. 743, 750-51 (2015) (EPA action unlawful where

 the agency failed to consider costs versus benefits).

       Third, an 11-State rule decimates the trading program, undermining

 EGUs’ ability to comply with the Rule. EPA analyzed a single trading




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 program covering 22 States. 88 FR 36,657 & n.295, JA1554, 1663. That unitary

 market has now been fractured into pieces. See 88 FR 49,305, JA1826; 88 FR

 67,108. This limits allowance availability, which will increase allowance

 prices, making compliance even more difficult—all contrary to the findings

 upon which the Rule is based. See, e.g., 88 FR 36,760, 36,771, 36,800, JA1657,

 1668, 1697 (discussing claimed benefits of trading program).

      EPA’s failure to engage in reasoned decision-making consistent with

 the Act’s standards is illustrated by EPA’s treatment of the Bonanza Power

 Plant, the only source located in Indian Country that the Rule regulates. The

 Act authorizes EPA to “to treat Indian tribes as States.” 42 U.S.C.

 § 7601(d)(1)(A). EPA did not do that. Instead of assessing whether sources

 on Tribal lands contribute significantly to downwind air quality problems,

 EPA acted as if Bonanza were just another source within Utah. Commenters

 warned EPA its approach was unlawful, but EPA ploughed ahead. Deseret

 Power Comments 3-4, JA447-448. Just like its failure to analyze a program

 with fewer than 23 States, EPA’s failure to appropriately examine the




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 downwind impacts of sources on Tribal lands leaves the Rule without a

 reasoned basis.

      In sum, the Rule cannot “function sensibly without” all 23 States that

 were part of EPA’s collective justification of downwind air-quality benefits.

 Belmont Mun. Light Dep’t v. FERC, 38 F.4th 173, 188 (D.C. Cir. 2022). EPA did

 not analyze or attempt to justify the Rule on any other basis. Without that

 analysis, removing even one State renders the Rule unlawful. 8

      III.   Regardless of How Many States are Involved, the Rule is
             Unlawful.

      Setting aside the number of States or Tribal jurisdictions regulated by

 the Rule, the Rule is unlawful several times over. EPA actively over-controls

 EGUs by design, and, by failing to consider record evidence, it unlawfully

 subjects certain non-EGUs to the Rule. EPA justified the Rule on an

 impermissible average cost basis, departing from past practice without



 8 EPA’s approach also arguably raises major-question concerns; EPA set out
 to regulate major sectors of the national economy while subverting the Act’s
 cooperative-federalism framework, making it both economically and
 politically significant. See West Virginia v. EPA, 597 U.S. 697 (2022).


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 explanation and contrary to the Act. EPA failed to consider the dangerous

 natural gas Pipeline and powerplant (coal and natural gas-fired) reliability

 impacts faced by the public in the process of imposing impossible timelines.

 And EPA violated foundational notice-and-comment rulemaking principles.

 The Rule should be vacated.9

            A.    The EGU Budget Enhancements are Designed to Over-
                  Control.

      “EPA has a statutory duty to avoid over-control.” EME Homer, 572 U.S.

 at 523. EPA may only prevent one State from “contribut[ing] significantly”

 to another’s ozone attainment problems. Id. at 521-22. That is, EPA “cannot

 require a State to reduce its output of pollution by more than is necessary to

 achieve attainment in every downwind State” or by more than necessary for

 a particular State to eliminate its “significant[]” contributions to downwind



 9 EPA claims to be implementing the Transport Provision through the
 framework upheld by EME Homer. See 572 U.S. at 519-20. There, the Supreme
 Court approved EPA’s interpretation under Chevron Step Two. Id. If the
 Supreme Court overturns Chevron, the Rule should be vacated so EPA can
 determine “significant contribution” consistent with the plain text or,
 alternatively, this Court should request further briefing on the issue.


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 sites. Id. The Rule purports to eliminate what EPA deems all significant

 contributions, and also imposes additional “enhancements” to further

 reduce emissions. That is over-control.

       The 2026 emissions budgets achieve the reductions EPA deemed a

 “complete remedy” for upwind State contributions. 88 FR 36,754, JA1651; see

 id. at 36,745 n.248, JA1642. Starting in 2027, EPA imposes “enhancements”

 on top of the 2026 budgets that ratchet emissions downward—even when

 further reductions are not needed to eliminate significant contribution. Id. at

 36,764, JA1661.

       EPA’s first enhancement, “dynamic budgeting,” reduces a State’s

 budget when a powerplant shuts down or limits operation. Id. at 36,662-63,

 JA1559-1560. Starting in 2027, EPA uses preset budgets to implement these

 shifts, slashing the budgets based on anticipated reductions in future EGU

 operations. Id. After 2029, EPA compounds the problem, cutting future State

 budgets by additional amounts based on presently-unknown fleet changes.

 Id.




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      Thus, if EPA determined a State budget of 2,000 tons of emissions

 would eliminate its significant downwind contributions by 2026, and a

 powerplant that emits 500 of those tons later shuts down, dynamic

 budgeting would reduce the State’s emissions budget to account for the

 shutdown—taking the overall budget below 2,000 tons. That necessarily

 over-controls emissions, because the 2026 budget purportedly eliminates

 significant contribution already. See EME Homer, 572 U.S. at 521-22.

      EPA’s second enhancement, “recalibration,” requires EGUs to

 relinquish their unused allowances. 88 FR 36,663, 36,766, JA1560, 1663. EPA

 tacitly concedes this enhancement is designed to “continuously incentiviz[e]

 sources to reduce their emissions even when they already hold sufficient

 emissions allowances….” Id. at 36,766, JA1560. But taking banked

 allowances away necessarily over-controls. EPA’s first recalibration for the

 2024 control period confirms this. See 89 FR 15,199 (Mar. 1, 2024). EPA will

 retire approximately 26,000 banked allowances out of a total 38,585 in the

 ten states that remain in the program, approximately two-thirds of all




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 banked allowances. Id. at 15,201. Sources must now compete for limited

 allowances to cover the three-for-one penalty, and, if EPA completes its

 latest proposed rulemaking, sources in five newly added states will have no

 banked allowances at all. 10 Every indicator says adequate allowances will

 not be available, forcing early retirements or installation of excessively costly

 controls. That is the point of recalibration. In this way, it is no different than

 a further reduction in each State’s budget. For the same reasons, it also

 results in over-control.

       EPA’s third enhancement imposes “backstop daily emissions rates,”

 which requires EGUs to either constantly meet emissions limits achievable

 with Selective Catalytic Reduction control technology or surrender

 allowances on a three-for-one basis. 88 FR 36,664, 36,767, JA1561, 1664.

 Again, State budgets and the trading program already provide a complete

 remedy. These backstops go beyond that, and therefore beyond the Act.



 10In particular, Arizona Public Service Company and Salt River Project
 Agricultural Improvement and Power District own and operate sources
 within Arizona, which EPA has proposed to add to the Rule.


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 Moreover, by functionally requiring Selective Catalytic Reduction on every

 facility, this enhancement arbitrarily eliminates the benefits of the trading

 program—ensuring both electric reliability and cost-effectiveness by

 allowing sources not able to efficiently install controls to purchase sufficient

 allowances—that were key to EPA’s rationale for the Rule. Id. at 36,728-29,

 JA1625-1626.

       EPA’s stated purpose of the enhancements is to prevent individual

 sources from “idl[ing] controls.” Id. at 36,720, JA1617. But the Transport

 Provision only addresses eliminating “amounts” of emissions statewide that

 “contribute significantly” to downwind issues. 42 U.S.C. § 7410(a)(2)(D)(i).

 Because the statewide “amounts” will be reduced below EPA’s identified

 significant contribution level, the enhancements have nothing to do with

 preventing significant contribution. They impose control for the sake of

 control.

       EPA also wrongly claims it “confirmed” the enhancements would not

 “over-control.” EPA’s over-control analysis stops at “the 2026 analytic” year,




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 and EPA refused to engage in “further over-control analysis.” 88 FR 36,751,

 JA1648. Meanwhile, the enhancements go into effect after 2026. EPA’s

 “analysis,” therefore, does not support its conclusion that its enhancements

 do not over-control because budgets nosedive after 2026. Id. at 36,907,

 JA1804.11 Rather, it implicitly confirms that the enhancements do over-

 control. EPA’s decision to stop its over-control analysis at 2026 arbitrarily

 ignores this inevitability. This failure to address an important aspect of the

 problem is arbitrary and capricious.

      EPA’s own data prove the point. For example, EPA concedes the 2026

 budget for Oklahoma brings Oklahoma’s contribution below EPA’s

 threshold for de minimis contribution and, at that point, the downwind states’

 ozone problems are “resolved.” Id. at 36,750, JA1647; cf. EME Homer, 572 U.S.




 11EPA has previously claimed these arguments must be addressed in “as-
 applied” challenges to the Rule’s enhancements after 2026. But because the
 enhancements are facially designed to over-control, and EPA has entirely
 ignored this aspect of the problem, an as-applied challenge is not necessary.
 Moreover, if such challenges are brought after 2026, EPA will surely argue
 they are beyond the 60-day deadline for filing petitions for review.

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 at 521-22 (explaining the two disjunctive over-control possibilities). Each

 enhancement will bring Oklahoma emissions even lower; the 2027 preset

 emissions budget alone is slashed by over 40% from 2026 levels, 88 FR 36,663,

 JA1560. In other words, EPA’s post-2026 budgets, enhancements and all, are

 designed to over-control by a lot. The same can be said of Alabama,

 Minnesota, and Wisconsin, where EPA did not impose the full suite of

 possible controls to avoid over-control, but will inevitably obtain the same

 over-controlling results by way of “enhancements” that further reduce

 allowances. Id. at 36,749, JA1646. More broadly, EPA entirely ignored the

 over-control problem for all States because it failed to analyze over-control

 after 2026, and its enhancements will effectively alter State budgets in

 unpredictable ways.

      The Rule’s systematic, facial over-control exceeds EPA’s statutory

 authority. EPA’s decision to limit its over-control analysis to 2026 fails to

 consider an important aspect of the problem with the enhancements and

 violates EPA’s statutory duty to avoid over-control.




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             B.    EPA’s Cost-Effectiveness         Analyses     Result    in   an
                   Unlawful Rule.

                   1.     EPA Unlawfully Requires Controls on Non-EGUs
                          Regardless of Actual Costs.

       In past Transport rulemakings, and purportedly in this one, EPA has

 defined the amount of emissions that “contribute significantly” under the

 Transport Provision by establishing a cost-effectiveness threshold for

 reductions, selecting a level where “further emissions mitigation strategies

 become excessively costly on a per-ton basis while also delivering far fewer

 additional emissions reductions and air quality benefits.” 88 FR 36,683,

 JA1580 (referred to as the “knee in the curve”). Emissions that can be abated

 at costs up to that threshold are considered significant contributions. See, e.g.,

 76 FR 48,208, 48,248 (Aug. 8, 2011) (“defin[ing] each state’s significant

 contribution…as the emission reductions available at a particular cost

 threshold in a specific upwind state” (emphasis added)); Maryland v. EPA, 958

 F.3d 1185, 1192 (D.C. Cir. 2020) (“Emissions that can be reduced at or below

 the selected control level are considered ‘significant’ for purposes of Good




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 Neighbor compliance.”). The Supreme Court affirmed this approach. See

 EME Homer, 572 U.S. at 519-20.

        In the Rule, EPA claimed it applied the EME Homer framework. E.g.,

 88 FR 36,678, JA1575. It did not. Instead, EPA regulated non-EGUs without

 regard to the relationship between the cost of controlling a given source’s

 emissions and the impact on downwind air-quality, arbitrarily and

 capriciously departing from past practice without explanation. See FCC v.

 Fox Television Stations, Inc., 556 U.S. 502, 515-16 (2009). And, regulating

 without the agency-defined “amounts” flouts EPA’s obligations under the

 Act.

        In the proposal, EPA applied the EME Homer framework, identifying

 a “marginal cost threshold of up to $7,500 per ton” for non-EGU controls. 87

 FR 20,043, JA122 (emphasis added). But, as commenters showed, the

 controls EPA proposed mandating would often cost well more than

 $7,500/ton. Pipeline companies demonstrated, for example, that the Rule’s

 emissions standards would impose exorbitant retrofit costs for over 100




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 affected engines, including $109,301/ton (95 engines), $225,587/ton (16

 engines), and even $684,169/ton (3 engines). Kinder Morgan Comment 21-

 26, JA344-349. Similarly, Paper boilers will experience costs of $37,900/ton as

 contrasted against EPA’s estimated $3,800/ton at proposal. American Forest

 & Paper Association (Paper Association) Comments 33, JA423. Steel will

 experience costs of approximately $20,873/ton for boilers and over

 $14,000/ton for reheat furnaces. USS Comment 100, JA647; id. Exhibit D at

 20, 27, JA664, 665; see also USS Reconsideration Attachment A, ¶16, JA1883

 (reheat furnace costs up to $42,300/ton)). Additionally, units that operate

 fewer hours, burn alternative fuels, or are already well-controlled,

 inherently emit less NOx, making such units expensive to retrofit on a per-

 ton basis. See, e.g., Kinder Morgan Comments 21, JA344; Paper Association

 Comments, 3-4, JA410-411; USS Comment 15, 95, 100, JA624, 646, 647 (blast

 furnace gas is already low-NOx fuel); Applicability Criteria Summary 7, JA901

 (EPA assessment “may result in lower cost/ton values than is likely for some

 lower emitting units.”).




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       EPA admits “costs to meet the final [R]ule emissions limits may also

 differ.” 88 FR 36,470, JA1637. It also acknowledged that $7,500/ton “does not

 reflect the full range of cost-effectiveness values that are likely present across

 the many different types of non-EGU industries and emissions units

 assessed.” Id. at 36,746, JA1643. EPA attempted to justify these variable costs

 by claiming that “overall” the “range of cost-effectiveness values for non-

 EGU industries and emissions units compares favorably with the values

 used to evaluate EGUs.” Id. That explanation is arbitrary and capricious

 because EPA acknowledges the industries are different: EGUs are “relatively

 homogeneous,” while non-EGU sources “are relatively heterogeneous, even

 within a single industrial category, and have far greater variation” in

 “emissions levels, and technologies to reduce emissions.” Id. at 36,720,

 JA1617. Consequently, the variability in costs-per-ton of emissions

 reductions for non-EGUs exceeds the variability and upper-end costs that

 EPA claims will be incurred by EGUs.




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       Further, EPA arbitrarily and capriciously lumped all non-EGUs

 together, even though EPA’s own analysis shows that cost-effectiveness is

 dissimilar across industries. See Screening Assessment 4, fig.1, JA49. EPA did

 set an industry-specific cost-effectiveness threshold for one industry: EGUs.

 See Balt. Gas. & Elec. Co. v. FERC, 954 F.3d 279, 285 (D.C. Cir. 2020) (the “duty

 to explain inconsistent treatment is incumbent on the agency”). For the first

 time, EPA is regulating nine distinct non-EGU industries, which EPA

 concedes “is complex.” 88 FR 36,683, JA1580. 12 But just because the problem

 is complex does not mean EPA can forgo reasoned decision-making or

 exceed its statutory authority. “Interstate contributions cannot be assumed

 out of thin air.” Michigan v. EPA, 213 F.3d 663, 684 (D.C. Cir. 2000).




 12Historically, EPA declined to regulate non-EGUs under the Transport
 Provision because there was “greater uncertainty in the non-EGU emission
 inventory estimates than for EGUs.” 81 FR 74,504, 74,521 (Oct. 26, 2016).
 Here, EPA changed course and now claims to have solved the riddle. To get
 there, however, EPA sidestepped its traditional modes of analysis, and did
 so without explanation.


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       In the face of variability and its erroneous cost data, EPA should have

 re-evaluated the “knee in the curve” for each non-EGU industry. 88 FR 36,683,

 JA1580. Meaning, it should have incrementally evaluated costs in

 comparison to emissions benefits to identify the point on the curve, for each

 non-EGU, at which costs are unreasonable and reductions are no longer

 meaningful. See, e.g., Screening Assessment 5, JA50; 86 FR 23,054, 23,110

 (Apr. 30, 2021) (referring to “reductions…below” $2,000/ton threshold).

 Instead, EPA abandoned its court-approved cost-threshold methodology. By

 statute, significant contributions must be grounded in an “amount,” which

 EPA itself has defined using a cost-effectiveness threshold. 88 FR 36,676,

 JA1573 (citing the EME Homer framework). But here, EPA persisted in using

 data it determined did “not reflect” actual costs for many sources.

       EPA tried to justify the Rule on the grounds that the “overall average”

 cost for all non-EGUs sources as a whole is “approximately $5,339/ton”—

 without considering whether that value represents actual costs, let alone

 excessive costs, for each of the varied sources and industries involved. Id. at




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 36,746, JA1643.13 Regardless of the “average,” EPA is imposing costs above

 its $7,500/ton threshold, and necessarily above the arbitrary average value of

 $5,339/ton on many sources. EPA therefore violated the Act and departed,

 without explanation, from past practice by imposing emissions reduction

 requirements that apply to individual sources regardless of whether the

 controls are cost-effective for those sources—indeed, without any objective

 upper bound at all on the cost for a given source to comply.

       EPA cannot justify this interpretation of the Act. EME Homer held that

 EPA reasonably interpreted the Act’s phrase “significantly contributes” by

 requiring reductions of emissions that “can be eliminated under the cost

 threshold set by the Agency.” 572 U.S. at 518 (emphasis added). The Court

 concluded this was “reasonable” because that approach offered “an efficient



 13EPA even got the final “average cost” assessment, 88 FR 36,746, JA1643, of
 non-EGU controls wrong. See Kinder Morgan Comment 21-26, JA344-349
 (actual costs in excess of $600,000); Portland Cement Association Comments
 24, JA436 (actual costs-per-ton far higher than EPA’s average for cement);
 USS Comment Exhibit D at 20, 27, JA664, 665 (costs 2 to 4 times higher than
 EPA’s average); Paper Association Comments 33, JA423 (actual costs 700%
 higher than EPA’s average).


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 and equitable solution to the allocation problem.” Id. at 519-20. Here, the

 Rule is neither equitable nor efficient, and therefore departs from past

 practice without explanation and is an unreasonable interpretation of the

 Transport Provision under EME Homer.

      It is inequitable because the Rule imposes emissions limits on a variety

 of non-EGUs, regardless of cost, as discussed. The Rule is also inefficient,

 and therefore arbitrary, because the variability in costs for non-EGUs cannot

 be smoothed over by a trading program. For all past Transport rules, EPA

 utilized a trading program to allow regulated sources to achieve “required

 emissions reductions in a more flexible and cost-effective manner.” 88 FR

 36,800, JA1697; see also id. at 36,729, JA1626 (“[A] trading program, and its

 corresponding compliance flexibilities, make the use of a single

 representative cost all the more appropriate.”). EPA did not propose a

 trading program for the disparate non-EGU industries, and it cannot,

 concluding it is infeasible. See id. at 36,817-18, JA1714-1715. Thus, each




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 covered source across non-EGU industries must comply with the applicable

 emissions limits regardless of how cost-effective it is to do so.

       In sum, it is not “logical and rational,” and is therefore “arbitrary and

 capricious,” U.S. Sugar Corp. v. EPA, 830 F.3d 579, 647, 652 (D.C. Cir. 2016)

 (citation omitted), to define a source’s significant contribution in terms of

 whether the source can make cost-effective emissions reductions, identify a

 threshold for assessing cost-effectiveness, and then act as if it were irrelevant

 whether the Rule will impose costs that vastly exceed that threshold. See

 Michigan v. EPA, 576 U.S. at 751-54 (cost is key consideration in regulating);

 White Stallion Energy Ctr. v. EPA, 748 F.3d 1222, 1261 (D.C. Cir. 2014)

 (Kavanaugh, J., dissenting) (“[C]onsideration of cost is commonly

 understood to be a central component of ordinary regulatory analysis,

 particularly in the context of…environmental regulation.”).

       The limited exception in the Rule for costs causing “extreme economic

 hardship,” 88 FR 36,818, JA1715, “cannot rescue [the Rule] from systemic

 errors,” Ass’n of Oil Pipelines v. FERC, 281 F.3d 239, 244 (D.C. Cir. 2002). EPA




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 stressed this “case-by-case” exception is intended for “unique” and

 “limited” circumstances, 88 FR 36,818, JA1715, for “individual facilities and

 emissions units,” id. at 36,747 n.250, JA1644, and only at its discretion, 40

 C.F.R. § 52.40(e)(2)(i)(B). But hundreds of non-EGU units will require controls

 exceeding $7,500/ton. See, e.g., Kinder Morgan Comment 26, JA349 (over half

 of its units exceeding $7,500/ton); USS Comment Exhibit D at 27, JA665;

 Paper Association Comments 8, 33, JA413, 423 (explaining no readily

 available control, including Selective Catalytic Reduction, and showing

 actual control costs of $38,900/ton). Moreover, to qualify for this “limited”

 exception, operators must demonstrate “extreme” hardship, which EPA

 describes as a showing that unit-specific costs would “significantly exceed

 the highest representative end of the range of estimated cost-per-ton figures

 identified for any source in the relevant industry.” 88 FR 36,819, JA1716. This

 produces absurd results. See, e.g., Kinder Morgan Comment at 21-26 (costs

 exceeding $600,000/ton), JA344-349. EPA cannot save its unreasonable Rule

 with a discretionary and standardless exception that provides no assurance




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 that the Rule’s “benefits [will] be ‘at least roughly commensurate with its

 costs.’” Wisconsin v. EPA, 938 F.3d 303, 322 (D.C. Cir. 2019) (alteration

 omitted) (quoting Michigan, 213 F.3d at 678-79).

       EPA also purported to create a “facility-wide averaging” exception,

 only for Pipeline engines. See 88 FR 36,823-24, JA1720-1721. EPA said its

 analysis showed that “emissions averaging should allow most facilities to

 install controls on approximately one-third of the engines at their sites, on

 average.” Id. at 36,824, JA1721. But that analysis considered just 10 facilities

 and 83 engines—a fraction of the 713 facilities and 3,005 engines subject to

 the Rule. Engines Analysis Data, tab “Determine NOx Threshold”, JA679,

 EPA-HQ-OAR-2021-0668-1050. And EPA did not confirm that the types,

 sizes, and runtimes of engines in the “subset” were representative of engines

 subject to the Rule. 88 FR 36,824, JA1721. They are not. For example, the

 facilities EPA evaluated had 8.3 engines on average, while the average of all

 facilities in EPA’s dataset is only 4.2 engines (3,005/713), and half the

 facilities have no more than 3 engines. See Engines Analysis Data. EPA’s




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 analysis thus bears no “‘rational relationship’ to the real world.” Appalachian

 Power Co. v. EPA, 249 F.3d 1032, 1053 (D.C. Cir. 2001). And EPA arbitrarily

 denied other industries the ability to even use facility-wide averaging. Nat’l

 Cable & Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 981 (2005)

 (“Unexplained inconsistency is…a reason for holding [agency action] to

 be…arbitrary and capricious….”).

                   2.     EPA Unlawfully Used Annual Cost-Effectiveness
                          Calculations To Justify Ozone-Season Emissions
                          Limits for Non-EGUs.

       The haphazard nature of EPA’s cost analyses continues. EPA’s

 assessment of Non-EGU costs is also arbitrary due to its failure to properly

 account for emissions reductions only during the ozone season. EPA set NOx

 emissions limits for “non-EGU sources that will apply only during the ozone

 season, which runs annually from May to September.” 88 FR 36,820, JA1717;

 40 C.F.R. § 52.40(c)(1). EPA found that these limits will eliminate upwind

 States’ “significant contribution” to downwind States’ nonattainment of the

 ozone standard because they will produce “impactful” emissions reductions

 “at reasonable cost-effectiveness thresholds.” 88 FR 36,719, JA1616.


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       EPA reported the “overall average” cost for all non-EGUs covered by

 the Rule is $5,339/ton of emissions reductions. 88 FR 36,746, JA1643; see also

 id. at 36,739-40 & Tables.V.C.2-1, V.C.2-3, JA1636-1637. In addition to being

 infected by the deficiencies in EPA’s cost analysis noted above, that figure

 reflects the average cost-per-ton of the annual emissions reductions EPA

 predicted the Rule would achieve in 2026, rather than the cost of reductions

 during ozone season.14 Therefore, that figure “grossly underestimates the

 cost per ton of NOx emissions reductions” during ozone season. Mississippi

 Comment 26, JA300. EPA acted arbitrarily when it used annual cost-

 effectiveness calculations to justify ozone-season emissions limits.

       Nor can EPA’s use of annual cost-effectiveness data be justified as a

 proxy for the cost-effectiveness of ozone-season emissions reductions. The

 ratio between costs and ozone-season emissions varies across industries.

 Some sources’ emissions controls can be turned off outside ozone season,



 14 EPA reported annual non-EGU costs of $571,676,839 and annual emissions

 reductions of 107,077 tons in 2026, which is $5,339 per ton. Applicability
 Criteria Summary 11 tbl.8, JA905.


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 while others are permanently integrated into the source. 88 FR 36,820,

 JA1717. In addition, the amount of NOx that individual sources emit varies

 throughout the year. For example, the use of engines that pressurize

 Pipelines varies with natural gas demand. TC Energy Comment 5, JA386;

 INGAA Comment 12, JA431. Thus, engines that transport less natural gas in

 the summer may have low emissions during ozone season, but higher

 emissions in the winter. INGAA Comment 12, JA431. Similarly, many of the

 “industrial, commercial and institutional boilers” covered by the Rule “are

 ‘load following’ boilers” whose use is “dictated by the thermal demands of

 end-use processes” that “are often weather dependent.” Council of

 Industrial Boiler Owners Comment 7, JA356. The “practical effect” is that

 NOx emissions “var[y] throughout the year and the cost of reductions must

 be analyzed on that basis.” Id. Yet EPA never even considered how this

 variability affected its cost per-ton calculations.

       What is more, EPA did not accurately calculate the emissions

 reductions from non-EGU sources under the Rule. For EGUs, EPA used




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 actual emissions during the 2019 ozone season. 88 FR 36,737-39, JA1634-1636

 (Tables V.C.1-1, V.C.1-2, V.C.2-2). But for non-EGUs, EPA used 2019 annual

 emissions and assumed ozone-season emissions are “5/12 of the annual

 emissions.” Id. at 36,739, JA1636 (Table.V.C.2-1), 36,848, JA1745 (Table.VIII-

 2). EPA did not explain why it used a different methodology for non-EGUs.

 And because non-EGU emissions vary throughout the year, the assumption

 that ozone-season emissions are 5/12 of annual emissions lacks a “‘rational

 relationship’ to the real” world and cannot support the Rule. Appalachian

 Power Co., 249 F.3d at 1053.

                    3.     The Enhancements Undermine EPA’s EGU Cost-
                           Effectiveness Analysis.

       EPA asserted that its requirements for EGUs were cost-effective

 because of the “highly effective” emissions trading program it continued from

 past plans. E.g., 88 FR 36,670, JA1567. EPA’s “enhancements” undermine this

 critical rationale for the Rule.

       In response to comments that the selected control stringency was too

 expensive, non-representative of actual costs, and would not be cost-



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 effective for many powerplants, EPA explained that a uniform cost coupled

 with “the region and state reduction requirements through a mass-based

 trading program provides a means of alternative lower cost compliance for

 those sources particularly concerned about the higher retrofit cost at their

 unit.” Id. at 36,730, JA1627. EPA repeatedly asserted that the trading

 program would incentivize some sources to control more than is needed and

 then sell allowances to sources that could not install cost-effective controls.

 Id. at 36,727-28, JA1624-1625. And EPA emphatically stated that it is “not

 mandating that any EGU must install [Selective Catalytical Reduction]

 technology,” due to the ability to trade allowances and thereby avoid

 exorbitant costs. Id. at 36,683-84, 36,686, JA1580-1581, 1583.

       All these statements are belied by EPA’s enhancements. See supra 28-

 34. EPA provided zero analysis of what the costs or effectiveness of its

 “enhanced” requirements would be after 2026. Id. For example, EPA begins

 ratcheting down 2026 budgets in 2027, making fewer allowances available,

 and then further lowers budgets through “dynamic budgeting” starting in




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 2030. At the same time, any source that has not installed EPA’s preferred

 control technology will have to hold and retire three times the number of

 allowances at a prohibitive cost. See 88 FR 36,680 n.91, JA1577

 (acknowledging “the imposition of the backstop emission rate in

 2030…could lead to the owner of a given unit to decide that the unit’s

 continued operation would be uneconomic without installation of [Selective

 Catalytic Reduction]”). In short, the enhancements functionally require

 installation and operation of controls by all units, regardless of cost, by

 making fewer and fewer allowances available for trading. All of this is

 exacerbated by the fact that EPA based its determination that the trading

 program would smooth costs on a 23-State trading program, which now

 only applies to 11.

       EPA did not perform any analysis of the efficacy of the trading

 program after the enhancements take place, including as it relates to cost-

 effectiveness. The Agency’s conclusion that the trading program would

 make up for the exorbitant costs and render EPA’s assumed costs




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 representative are arbitrary and capricious because there is no rational

 support in the record after 2026. State Farm, 463 U.S. at 43.

             C.    The Rule is Overinclusive for Certain Non-EGUs.

                   1.     EPA’s Applicability Criteria For Engines and
                          Boilers Are Unlawful.

        In determining which sources to regulate, EPA “focused on assessing

 emission units that emit > 100 [tons-per-year] of NOX.” Screening

 Assessment 3, JA48. For certain Non-EGU sources—Cement, glass, and Steel

 reheat furnaces—EPA used the 100-tons-per-year threshold to include or

 exclude units. 88 FR 36,825-29, JA1722-1726. For engines and boilers, by

 contrast, EPA considered only a capacity proxy, rather than actual emissions

 when assessing the 100-tons-per-year threshold. Specifically, EPA regulated

 all pipeline engines with a design capacity of 1,000 horsepower or greater,

 and all boilers with a design capacity of 100 MMBtu/hr or greater, asserting

 that these criteria “reasonably approximate” the 100-tons-per-year

 threshold. Id. 36,820, 36,832, JA1717, 1729; see also 87 FR 20,142, 20,148, JA221,

 227.



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      The flaws in EPA’s proxy approach were apparent even at the

 proposal stage. For Pipelines, for example, EPA projected its horsepower

 proxy would sweep in only 307 engines nationwide. 87 FR 20,090, JA169.

 EPA believed most of those engines would exceed the 100-tons-per-year

 threshold: EPA estimated that “over 200 engines” out of 307 “emitted greater

 than 100 [tons-per-year].” Final Non-EGU Sectors Technical Support Document

 4, JA1190. Commenters, however, demonstrated that EPA had wildly

 underestimated the Rule’s reach. INGAA Comment 8-9, JA429-430

 (association members alone operate 1,380 regulated units); TC Energy

 Comment 4-5, JA385-386 (similar). Numerous commenters also raised

 concerns that EPA’s boiler proxy was overinclusive, capturing units that

 never operate close to their design capacity or that burn low-NOx fuels.

 Response to Comments 133-35, 365-67, 790-99, JA1386-1388, [SuppJA2201-

 2202]-1466, 1516-1525.

      In the Rule, EPA acknowledged that its proxies “captured more units

 than the EPA intended,” including “low-use units and some units with




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 emissions of less than 100 [tons-per-year].” 88 FR 36,819, 36,821, JA1716,

 1718. That was an understatement. EPA now estimates less than 23% of the

 boilers with design capacity over 100 MMBtu/hr actually emit more than 100

 tons-per-year of NOx. See Non-EGU Facilities and Units.xlsx, JA680, EPA-HQ-

 OAR-2021-0668-1174. For engines, EPA now projects that 3,005 units are

 subject to the Rule, 88 FR 36,824, JA1721, even though fewer than 300 units

 will meet the 100-tons-per-year threshold, see Non-EGU Facilities and

 Units.xlsx, JA680, EPA-HQ-OAR-2021-0668-1174. EPA nonetheless persisted

 in regulating all engines at or above a 1,000-horsepower rating and boilers

 with a design capacity over 100 MMBtu/hr, refusing to adjust its

 applicability criteria to address the mismatch. 88 FR 36,819-21, JA1716-1718.

 This was unlawful on multiple levels.

       First, EPA’s applicability criteria result in regulating a significant

 number of units that, by EPA’s own logic, do not “contribute significantly.”

 At the outset, EPA used 100 tons-per-year to determine which sectors to

 regulate at all. Id. 36,732-33, JA1629-1630. But after using that threshold to




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 screen out entire industries, EPA irrationally adopted a Rule that regulates

 substantial numbers of engines that also emit below that threshold. EPA may

 not require emissions reductions “at odds with the [significant-contribution]

 threshold the Agency has set.” EME Homer, 572 U.S. at 521. At a minimum,

 EPA failed to justify its disparate treatment of these units. See Balt. Gas &

 Elec. Co., 954 F.3d at 285.

       Second, EPA’s finding that these proxies “reasonably approximate[]”

 the 100-tons-per-year threshold, 88 FR 36,820, JA1717, is “contrary to the

 record evidence and thus arbitrary and capricious,” Growth Energy v. EPA, 5

 F.4th 1, 32 (D.C. Cir. 2021). According to EPA’s own data, less than 10% of

 the engines and less than 23% of boilers subject to the Rule emit more than

 100 tons-per-year. More than half of the engines emit less than 10 tons-per-

 year. See Non-EGU Facilities and Units.xlsx, JA680, EPA-HQ-OAR-2021-0668-

 1174. A “reasonable approximation” is one that fairly captures the target

 group. Cf. Worldcom, Inc. v. FCC, 238 F.3d 449, 459 (D.C. Cir. 2001). Instead,




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 EPA promulgated a grossly overinclusive rule that amounts to a tenfold

 expansion of its regulatory reach.15

       Third, EPA’s reasons for declining to adjust the applicability criterion

 are arbitrary and capricious. For Pipelines, EPA tried to justify its overreach

 by claiming that the hundreds of pipeline engines below the emissions

 threshold could one day exceed 100 tons-per-year and it is “not possible to

 guarantee without an effective emissions control program that all such units

 could not increase emissions in the future.” 88 FR 36,821, JA1718. But the

 statute applies only to sources that “will…contribute significantly,” 42 U.S.C.

 § 7410(a)(2)(D)(i) (emphasis added), not that “could potentially” do so in the

 future. And it is possible to ensure units do not increase their emissions: EPA

 could impose a reporting obligation and require compliance with emissions



 15Facility-wide averaging does not cure the problem. First, it is limited to
 engines at facilities that satisfy the averaging rule. Second, even with
 averaging, controls must be applied to hundreds of engines that emit less
 than 100 tons-per-year, regardless of cost. Of the 905 units that EPA projected
 will install controls, two-thirds of them emit less than 100 tons-per-year.
 Applicability Criteria Summary 9, JA903; Non-EGU Facilities and Units.xlsx,
 JA680, EPA-HQ-OAR-2021-0668-1174.


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 limits if the 100-tons-per-year threshold is exceeded. Indeed, EPA took

 precisely that approach in exempting certain low-use boilers from emissions

 limits. 40 C.F.R. § 52.45(b)(1)-(2); 88 FR 36,833, JA1730. Here again, EPA

 failed to explain its “inconsistent treatment” of Pipelines. Balt. Gas, 954 F.3d

 at 285. For boilers, while EPA implemented a low-use and co-firing

 exception, EPA provided no basis for limiting the applicability of these

 exceptions, and the Rule remains significantly overinclusive.

       EPA also tried to justify its decision on the ground that engines with a

 1,000-horsepower rating “collectively” emit substantial amounts of NOX. 88

 FR 36,821, JA1718. But the statute nowhere authorizes EPA to regulate

 individual sources that do not “contribute significantly” by lumping them

 together with other sources that do. Because EPA did just that, see Response

 to Comments 627, JA1503 (recognizing that low-use engines’ contribution

 “may be insignificant”), the Rule is unlawful and must be set aside.




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                  2.     EPA Erroneously Subjected Steel and Paper to the
                         Rule, Based on Incorrect Data.

      EPA’s Screening Assessment contained inaccurate data that vastly

 overestimated the emissions and emissions reduction potential of non-

 EGUs, highlighted in the context of Paper and Steel sources. While EPA

 recognized some errors (but did nothing about them), it totally ignored

 others. This was both arbitrary and capricious and exceeded EPA’s statutory

 authority. Cement Kiln Recycling Coal. v. EPA, 255 F.3d 855, 866 (D.C. Cir.

 2001) (EPA must use “substantial evidence—not mere assertions”); 42 U.S.C.

 § 7410(a)(2)(D)(i)(I) (EPA may only regulate a “source” or “type of emissions

 activity” that contributes significantly to a downwind state).

      EPA Failed to Correct Acknowledged Errors in its Screening

 Assessment. The first step in EPA’s Screening Assessment was to identify

 industries with the highest “potentially controllable emissions.” Screening

 Assessment 2, JA47. Other industries were excluded because they did not

 “significantly contribute to nonattainment or interfere with maintenance in

 downwind states.” 88 FR 36,682, JA1579.



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       EPA’s Assessment erroneously assumed Steel had thousands of tons

 of potential emissions from blast furnaces, electric arc furnaces, and other

 sources. Screening Assessment tbl.6, JA2195-2196. It also incorrectly

 assumed that Steel boilers with the same design capacity have the same

 emissions reduction potential. The Rule acknowledges that EPA lacked data

 to support many of the reductions assumed for Steel, and “co-fir[ing]”

 (burning fuels other than coal, oil and natural gas) or “limited-use”

 (operating far below their design capacity) boilers would not be able to

 achieve emissions reductions. 88 FR 36,827, 36,833, 36,760, JA1724, 1730,

 1657. EPA therefore removed these units from the Rule. Id. Remarkably, EPA

 failed to recognize that these units were still part of its Screening Assessment

 for whether to regulate Steel at all. This is a critical error.

       EPA has a “duty to examine key assumptions as part of its affirmative

 burden of promulgating and explaining a non-arbitrary, non-capricious

 rule.” Appalachian Power Co. v. EPA, 135 F.3d 791, 818 (D.C. Cir. 1998)

 (internal quotations omitted). It “cannot ignore new and better data.” Dist.




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 Hosp. Partners, L.P., 786 F.3d 56. And it is arbitrary and capricious for EPA to

 offer an explanation that “runs counter to the evidence before the agency.”

 State Farm, 463 U.S. at 43. When EPA realized that subject units did not have

 potential emissions reductions, it needed to not only remove them from

 regulation, but also remove them from its Screening Assessment analysis,

 and re-evaluate each industry on the basis of its actual emissions reduction

 potential.

       EPA Ignored Analysis Showing its Emission and Air-Quality Impacts

 Estimates Were Wrong. EPA subjected both Paper and Steel to the Rule

 arbitrarily, contrary to record evidence, and in violation of the Act. Using

 correct data, neither should have been subject to the Rule.

       For Paper, EPA’s erroneous assumptions about the Paper sector

 resulted in faulty emissions reduction predictions. Paper Association

 Comments, 3-4, JA410-411. To illustrate, EPA included mills in Michigan and

 Virginia where EPA asserts the Paper boilers impact monitors along the

 Connecticut coast. Air Improvement Council Comments, App. A, JA329.




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 Yet, Paper used EPA’s tools (the Air-Quality Analysis Tool) to model and

 found very limited impact—on the order of 0.01 ppb—on ozone

 concentrations when the standard is 70 ppb. See id. tbl.1, JA324. Paper shared

 this data with EPA. Paper also provided EPA corrections to the boiler

 inventory, utilizing EPA’s own modeling tools to demonstrate that Paper

 boiler emissions impact only eight or nine ozone non-attainment areas.

 Paper Association Comments 6, JA412. Even so, Paper has never passed

 EPA’s two-pronged criteria for inclusion. EPA did not factor in Paper’s

 comments.

       EPA similarly regulated Steel when it should have eliminated the

 industry based on available and relevant modeling. EPA ignored important

 data relevant to “maintenance” receptors after 2026, unlawfully including

 some States and their associated sources. EPA’s rationale for cutting

 evidence off at 2026 is Wisconsin v. EPA’s statement that EPA should base

 upwind compliance on downwind nonattainment deadlines, paired with

 EPA’s finding that the 2026 ozone season is the first season non-EGU limits




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 can feasibly go into effect. 87 FR 20,099-100, JA178-179; 88 FR 36657, JA1554.

 But those statutory deadlines only apply to nonattainment receptors; EPA was

 therefore not required to set the same deadlines for upwind States like

 Arkansas linked only to maintenance receptors—which, by definition, are in

 attainment. Accordingly, it is arbitrary for EPA to refuse to consider factors

 beyond 2026. Prill v. NLRB, 755 F.2d 941, 942 (D.C. Cir. 1985) (where an

 agency erroneously assumed determination was mandated and outside

 agency’s discretion, the determination “stands on a faulty legal premise and

 without adequate rationale.”).

       Arkansas offers a ready case study of EPA’s arbitrarily and

 overreaching regulation. Arkansas allegedly contributes to Brazoria and

 Galveston Counties, but those receptors are predicted by EPA to be in

 maintenance before 2026, and achieve full attainment before 2032 (i.e.,

 average ppb below 70 and max ppb below 71), even without application of

 the Rule to Non-EGUs. See EPA-HQ-OAR-2021-0668-0099 B-3, JA0108; EPA-

 HQ-OAR-2021-0668-1157 14, 17, JA786, 789. This path to maintenance is also




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 highly conservative; three powerplants in Arkansas will close before 2030,16

 creating emissions reductions by 2028, USS Comment 64-65, JA641-642,

 dwarfing the 1,546 tons required from all non-EGUs in Arkansas. 88 FR

 36,739 tbl.V.C.2-2, JA1636. The arbitrariness of EPA’s analysis is further

 evidenced by EPA’s decision to defer applicability of “backstop daily

 emission rates” (see supra 31-32) until 2030, specifically to account for EGU

 closures in 2028, which contradicts the putative legal rationale above. See 88

 FR 36,796, JA1693.

       EPA’s own modeling found that Steel contributed to a nonattainment

 or maintenance receptor above EPA’s own screening threshold (0.01 ppb) in

 only one state. Screening Assessment tbl.A-3, JA56. Yet, EPA nevertheless

 regulated Steel in all 23 States—a decision that is unlawful, arbitrary, and

 capricious. Take Arkansas, for example, which again highlights the



 16Lake Catherine by 2027 (53,000 tons-per-year NOx permitted, 173 actual
 2019 ozone season tons (2019ost)); White Bluff Powerplant by 2028 (53,000
 tons-per-year NOx permitted, 2,908 actual 2019ost); and Independence
 Powerplant by 2030 (53,000 tons-per-year NOx permitted, 2,845 actual
 2019ost). USS Comment 64-65, JA641-642.


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 erroneous over-inclusion of Steel units. For all 53,000+ square miles of

 Arkansas, EPA identified interference with maintenance at only two

 downwind receptors: Brazoria and Galveston (Texas). EPA-HQ-OAR-2021-

 0668-1157 14, 17, JA786, 789. But there is no evidence steelmakers in Arkansas

 (primarily located in far Northeast Arkansas, away from Texas) contribute

 significantly to these receptors. See e.g., USS Comment 10-13, 54-66, JA620-

 623, 631-643. EPA performed no source-specific modeling to evaluate the

 impact (or lack thereof) of Arkansas steelmakers on any downwind

 receptors. Instead, EPA identified industries nationwide that contributed to

 greater than 0.1 ppb to at least one receptor, or greater than 0.01 ppb to at

 least ten receptors, then regulated all collective sources in each State,

 regardless of their impact on downwind receptors. Screening Assessment 2-

 3, 22-23, JA47-48, 53-54.

       That error illustrates a more fundamental flaw in EPA’s approach to

 non-EGUs: EPA used ambient impact criteria (i.e., the 0.10 and 0.01 ppb

 thresholds) to determine the non-EGU industries that have a meaningful




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 impact on downwind air-quality, but EPA based those determinations on

 industry-wide analyses instead of making State-by-State assessments.

 Consequently, any given industry is unlawfully regulated in each State

 because EPA has not demonstrated that emissions from that industry in a

 given State have an appreciable downwind impact. See 42 U.S.C.

 § 7410(a)(2)(d)(i) (significant contribution must be ascertained State-by-

 State).

       For Hybar specifically, there is no link to the Brazoria or Galveston

 receptors. HYSPLIT modeling, the same system EPA uses for regional haze

 interstate transport issues, 87 FR 7,734 (Feb. 10, 2022), demonstrates that on

 the relevant days for ozone attainment status, the air parcels contributing to

 downwind ozone concentrations at those monitors did not pass through

 Northeast Arkansas. Thus, sources (like Hybar) in Northeast Arkansas do

 not significantly contribute to the Brazoria receptor. USS Comment 55,

 JA632; id. Exhibit A at 19-22, JA656-659.




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       Faced with this data, EPA provided a technical critique of HYSPLIT.

 But all modeling is imperfect, and this HYSPLIT modeling beats what EPA

 provided to show such a connection—nothing.

       EPA Failed to Correct Clear Errors in Its Baseline Inventory.

 Compounding the errors across both Paper and Steel, EPA relied on

 incomplete, unverified, and uncertain data to arrive at the conclusion that



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 they should be regulated. Comments to EPA explained that (1) EPA assessed

 only annual emissions data, not ozone season values, see supra 46-49;

 (2) several units are not labeled correctly; (3) some units do not have a

 capacity associated with them; (4) emissions control information is

 incomplete; and (5) some States report allowable and not actual emissions.

 Paper Association Comments 3-4, JA410-411; USS Comments 24, 48, 92, 100,

 103, JA625, 630, 645, 647, 648. The 2017 National Emissions Inventory

 (Inventory) is full of such errors and does not accurately reflect the emissions

 of boilers in regulated States. Paper Association Comments 1, JA408.

 Further, EPA did not consider that actual boiler usage is often less than

 design capacity, nor did EPA consider that some boilers burn low-NOx fuels,

 which weakens EPA’s assumed correlation between design capacity and

 NOx emissions. See Response to Comments 133-35, 365-67, 790-99, JA1386-

 1388, [SuppJA2201-2202]-1466, 1516-1525.

       From a review of the Inventory, it is difficult to determine how many

 boilers are at a particular facility if a boiler fires multiple fuels and has one




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 line per-fuel or if multiple boilers exhaust to one stack, and EPA did not

 verify that the Inventory data were representative of the currently operating

 boiler types, sizes, controls, and emissions. Paper Association Comments 4,

 JA411. For example, EPA’s Screening Assessment assigns boiler controls and

 NOx reductions to a facility that no longer operates (Appvion in Spring, PA).

 Id. The Inventory contains a number of discrepancies and in several cases

 overestimates the number of boilers at mills highlighted for EPA to consider

 yet did not. Even if the dataset were accurate, it does not include critical

 information, such as ozone season emissions, critical design or control

 features, or each boiler’s actual lb/MMBtu NOx emission rate, so there is no

 way for EPA to accurately identify which boilers may not be able to comply

 with the proposed emissions limits.

       Further, EPA baselessly assumed that Selective Catalytic Reduction

 was a proven and cost-effective control strategy for reducing NOx emissions

 from Paper boilers. It is not. Selective Catalytic Reduction has not been

 installed on existing Paper boilers in the U.S. given the significant




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 operational and retrofit challenges. Id. at 18-19, JA418-419 (citing exhaust

 temperature limitations). Instead of removing paper from the Rule because

 it did not meet the screening for cost or technical feasibility, EPA offers a

 “technical impossibility” test that ignores the foundational truth that Paper

 factually should not be in the Rule. 88 FR 36,747-48, JA1644-1645. In addition,

 Selective Catalytic Reduction has disbenefits that EPA ignored, including

 higher energy to increase the exhaust gas temperature to operate the catalyst

 in Paper boiler application, resulting in greater greenhouse gas emissions.

 Paper Association Comments 3, JA410. Therefore, EPA’s analysis is flawed

 relative to what can be achieved and underestimates the costs to the sector.

       Steel and Paper were already among the lowest-emitting industries

 included in the Rule before EPA recognized it had significantly over-counted

 potentially controllable emissions. See Screening Assessment 25 tbl.A-3,

 JA56. Without analysis or citation EPA nonetheless asserted that record

 evidence does not change EPA’s conclusions to include Paper and Steel.

 Response to Comments 128, JA1385. This is arbitrary and capricious.




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                                *     *    *

       Had EPA removed Steel units that are excluded from the Rule, EPA

 would have been compelled to exclude Steel at the screening stage. Paper is

 no different. Had EPA corrected the baseline inventory by removing non-

 operational Paper boilers, the sector is only predicted to impact eight

 receptors (or 4 with an 11-State program). Similarly, had it considered the

 record before it, EPA would have been compelled to exclude Paper boilers.

       EPA itself States the Screening Assessment “helped shape the proposal

 and [Rule].” 88 FR 36,661, JA1558. Indeed, applying the Screening

 Assessment, EPA eliminated 32 industries from further consideration.

 Having done so, it cannot now ignore consequential errors in the Screening

 Assessment by claiming the entire process was immaterial. State Farm, 463

 U.S. at 43 (EPA must “articulate a satisfactory explanation for its action

 including a ‘rational connection between the facts found and the choice

 made’”).




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                     3.     The Steel Requirements Violate the Statute and
                            Are Arbitrary and Capricious.

                            i.    EPA’s Work Plan Process for Steel Violates
                                  the Act.

       EPA has acknowledged it lacked sufficient information to develop

 emission limits for reheat furnaces. 88 FR 36,818. This should have precluded

 their regulation. EPA cannot regulate without a record basis for doing so. 42

 U.S.C. § 7607(d)(3), (6); Portland Cement Ass’n v. Ruckelshaus, 486 F.2d 375,

 391-93 (D.C. Cir. 1973) (“It is not consonant with the purpose of a rule-

 making proceeding to promulgate rules on the basis of inadequate data….”).

 Yet EPA arbitrarily proceeded anyway, promulgating a “work plan” process

 that requires sources to create post-promulgation data on which EPA will

 develop and impose unknown future emission limits without notice-and-

 comment rulemaking.

       The Rule requires facilities to “install and operate” pollution control

 technology “designed to achieve at least a 40% reduction from baseline”

 emissions. 88 FR 36,879, JA1776. It does not say what designs EPA will accept

 or even how future emissions limit will be set. Facilities must simply


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 “establish an emissions limit in the work plan that the affected unit must

 comply with.” Id. This is not just arbitrary and capricious, it is beyond EPA’s

 statutory authority.

       First, EPA cannot base its Rule on information that is not in the record

 at the date of promulgation. 42 U.S.C. § 7607(d)(6)(C). The work plan process

 does just that.

       Second, EPA must comply with § 7607(d) when imposing emission

 limits through a federal implementation plan. Id. § 7607(d)(1)(B). The work

 plan process violates several of its requirements. There is no publication of

 proposed or final emission limits in the Federal Register as required by

 § 7607(d)(3). The Administrator simply notifies facilities electronically

 whether their plan is approved. 88 FR 36,880, JA1777. The comment period

 violates § 7607(d)(5) and (h), providing no initial comments and only 15

 calendar days to respond to a disapproval. 88 FR 36,880, JA1770. Finally,

 EPA will not create a regulatory docket, as required by § 7607(d)(4)-(6).




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       To be clear, the issue in not whether EPA can ever use a test-and-set

 approach. In its regional haze regulations, for example, EPA adopted a test-

 and-set approach that promulgated: (1) an emission limit range supported

 by the record; (2) a precise procedure to establish final limits within that

 range, including the data and equations that would be used; and (3) a

 prohibition on enforcement until “EPA’s confirmation or modification of the

 emission limit” in a final action published in the Federal Register. 40 C.F.R.

 § 52.1235(b)(1)(ii)(A)(1)-(7). There is nothing close to that process here.

       EPA also cannot claim that its “design” goal of a 40% reduction allows

 it to later impose an emission limit ministerially or through informal

 adjudication. The design requirement is not an emissions limit. Emissions

 limitations can be set higher or lower. 88 FR 36,879, JA1776. Indeed, this is

 the purpose of the work plan process. Id. at 36,828, JA1725.

       Promulgating the final emission limitations is also not a peripheral

 matter reasonably subject to informal adjudication. Emission limitations are

 at the heart of an implementation plan. See 42 U.S.C. § 7410(a)(2)(A) (first




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 implementation plan requirement is inclusion of “enforceable emission

 limitations”). Their violation risks significant penalties. Id. § 7413(a)(1)(B).

 And EPA is required to engage in rulemaking before it can impose them. Id.

 § 7607(d).

       Equally problematic is the authority EPA has granted itself after

 finding a work plan deficient. Before an emission limit is even imposed, if

 the Administrator disapproves a work plan, or finds a work plan was not

 timely submitted or complete, “[e]ach day that the affected unit operates

 following such disapproval or failure to submit shall constitute a violation.”

 88 FR 36,880, JA1777. Thus, EPA asserts authority to prohibit operation on

 15 days’ notice without a hearing. Even when a facility directly violates the

 Transport requirement, EPA does not have this authority. 42 U.S.C. § 7426

 (requiring a hearing and at least three months before EPA can prohibit

 operation). EPA cannot grant itself more authority than Congress provided.

 Michigan v. EPA, 268 F.3d 1075, 1081 (D.C. Cir. 2001).




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                       ii.      The Reheat Furnace Requirements Are
                                Arbitrary and Capricious.

       EPA must adequately explain its decision on the record, have adequate

 data on which to base its decision, and adequately explain departures from

 prior decisions and established policies. State Farm, 463 U.S. at 43; Portland

 Cement, 486 F.2d at 391-93; U.S. Sugar, 830 F.3d at 626. The Rule violates each

 of these principles for reheat furnaces.

       First, the Rule imposes a 40% design requirement, purportedly based

 on installation of low-NOx burners that EPA asserts in the Proposed Rule

 achieves only a 20% reduction. See 87 FR 20,145, JA224 (Table VII.C-3). EPA

 defends this discrepancy by stating, without citation, that “most units would

 be able to meet target reduction design specifications between 20 percent

 and 98 percent reduction efficiency, depending on the unit.” Response to

 Comments 748, JA1511. This vague reference is contrary to the record before

 it and insufficient to explain the basis for the Rule.

       Second, the Rule departs from long-standing policy without

 explanation when it requires that physical or operational limitations on



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 potential-to-emit be achieved as of the Effective Date of the Rule (August

 2023) to be relevant to determining applicability. 88 FR 36,879, JA1776.

 Federally enforceable physical and operational limitations on potential-to-

 emit have long been recognized as relevant to applicability. See, e.g., EPA,

 Options for Limiting the Potential-to-Emit, EC-6-1998-29 (Jan. 25, 1995). The

 Rule itself adopts this policy. 88 FR 36,869, JA1766. But for reheat furnaces

 alone, the Rule inexplicably excludes consideration of potential-to-emit

 occurring after the Effective Date. This is arbitrary and capricious. Small Ref.

 Lead Phase-Down Task Force v. EPA, 705 F.2d 508, 551 (D.C. Cir. 1983)

 (arbitrary inclusion of a cut-off date provides an “independent reason for

 vacating” the requirement because “[a] rule without a stated reason is

 necessarily arbitrary and capricious”).

       Third, the Rule acknowledges that emissions control technologies

 designed for units that burn traditional fuels have difficultly operating on

 co-fired units effectively, or at all. 88 FR 36,833, JA1730. For this reason, EPA

 concluded it lacked sufficient information to impose requirements on co-




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 fired boilers, and excluded them from regulation. Id. Yet while the record

 contains the same information for reheat furnaces, EPA completely failed to

 consider the feasibility of achieving emissions reductions at co-fired reheat

 furnaces. EPA’s failure to consider this important aspect of problem,

 particularly when it found the same issue outcome determinative for other

 sources in the Rule, was arbitrary and capricious. State Farm, 463 U.S. at 43.

             D.      EPA Failed to Consider Important Reliability and
                     Feasibility Concerns.

       EPA arbitrarily and capriciously failed to consider an important aspect

 of the problem: the reliability of the energy system and the feasibility of the

 impossible compliance timelines. Regulating Pipelines and the power

 sectors without such an analysis, in the face of extensive comments

 highlighting reliability concerns, is arbitrary and capricious. EPA likewise

 failed to consider the feasibility of its Rule deadlines for certain industrial

 sources. Compliance for Paper requires the untried and unknown

 implementation of Selective Catalytic Reduction technology, Paper

 Association Comments 35-36, JA425-426, while the compliance timeline for



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 Pipelines and Steel ignores consideration of the quantity of units, vendor

 capacity, and the time necessary to implement necessary process. Failure to

 properly address these issues renders the Rule unlawful.

       Pipeline reliability. EPA acknowledges that each engine that must be

 retrofit to comply with the Rule will have to be out of service for a substantial

 period of time. See Control Technology Installation Timing for Non-EGUs 22, 32

 (Timing Report), JA718, 728 (acknowledging construction downtime of one

 month or between three and seven months, depending on the type of engine

 and control installed). But EPA did not account for the fact that with

 approximately three thousand regulated engines, Pipelines must take

 numerous engines offline simultaneously to even attempt to meet the 2026

 deadline. Thus, even if the Pipeline deadline were achievable as a matter of

 vendor capacity, natural gas service to the public would be impacted. Because

 engines are necessary to move natural gas on a linear system, taking multiple

 engines offline will cause a “large-scale reduction in output of natural gas,”

 Kinder Morgan Comment 29, 36-37, JA352, 353-354, and “prevent[] [natural




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 gas] shippers from transporting as much gas as their users require,” INGAA

 Comment 42, JA434. There is no slack capacity during peak periods to

 compensate for those reductions. Further, if Pipelines are unable to install

 the required controls by May 2026, they face a dilemma: continue operating

 (violating emissions limits) or shutdown engines, halting transportation

 service to powerplants or city gates. Yet the sole report EPA commissioned

 to address the Pipelines’ timelines does not address reliability and offers

 flawed assumptions and perfunctory and conditional conclusions. See

 Timing Report ES-8, JA695.

       First, the Timing Report expressly disavowed any consideration of the

 Federal Energy Regulatory Commission’s (FERC) role, stating that “we were

 not able to complete an evaluation” of FERC process impact on the timeline.

 Id. And, even though EPA admits FERC has “primary responsibility for

 ensuring reliability of the bulk electric system,” the record contains no

 indication that EPA conferred with FERC on Pipeline reliability. 88 FR

 36,774, JA1671.




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       Second, while the Timing Report mentioned average compressor

 station capacity utilization and estimated installation timelines for engine

 emissions controls, Timing Report ES-8, 8, 22, 32, JA695, 704, 718, 728, EPA

 failed to “articulate a satisfactory explanation,” State Farm, 463 U.S. at 43—

 or any explanation, in fact—for how these factors interact to assure reliability.

 Nor could it; average capacity utilization is irrelevant to evaluating the

 capacity needed to serve customers at peak demand periods that occur

 during summer and winter, when energy demands for heating and cooling

 are highest. INGAA Comment 42, JA434.

       Third, EPA concludes that “the ability to coordinate outages…may not”

 cause “much if any delay.” Timing Report ES-8, JA695 (emphasis added).

 That is wrong. Pipeline engines are intentionally located to provide pressure

 for a single pipeline. If one engine is taken offline, an engine from a different

 pipeline cannot serve as a substitute. Each Pipeline operator can also have

 unique delivery points, so a customer served by one Pipeline may not be

 able to obtain natural gas from another to make up for lost deliveries. Even




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 where there are multiple Pipelines, agreements to “coordinate” outages

 among competing Pipelines raise obvious antitrust concerns. See Copperweld

 Corp. v. Indep. Tube Corp., 467 U.S. 752, 768 (1984) (market allocation

 agreements per se illegal); INGAA Comment 42 (Pipelines cannot coordinate

 repairs), JA434.

       Because the Timing Report represents EPA’s only (non)analysis of

 Pipeline reliability, EPA plainly “failed to consider [this] important aspect of

 the problem.” State Farm, 463 U.S. at 43. To the extent the Timing Report is a

 presumed reliability analysis, the analysis is arbitrary and capricious.

       Reliability for EGUs. The Rule’s potential to impair electric reliability,

 impacting coal and natural gas-fired powerplants, was obvious from the

 start. Numerous commenters, including grid operators and reliability

 experts, alerted EPA to the threat that would come from disorderly

 retirement of indispensable baseload generation. E.g., 88 FR 36,770, JA1667.

 Commenters further pointed out that there are well-established tools that

 can assess the impact of changes on grid reliability and that EPA should




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 consult with other expert agencies. Id. at 36,774, JA1671. EPA responded by

 eschewing analysis, data, and consultation with experts in favor of

 guesswork.

       Without analysis, EPA asserted that the Plan would not harm

 reliability because emissions trading would create flexibility for sources that

 face unjustifiable costs and because sources must inform grid operators

 before they can shutdown. Id. As discussed above, EPA has hamstrung the

 flexibility of its trading program through its enhancements. Supra 28-34.

 Even if allowances are available—every indication is they will not be—the

 enhancements will require EGUs to install controls or shutdown. Those

 powerplant closures will necessarily impact reliability.

       Despite its lack of analysis, EPA conceded there are tools available to

 assess reliability. Id. at 36,774, JA1671. It just believes that reliability is

 someone else’s problem: “EPA notes that other entities responsible for

 maintaining reliability and managing entry and exit of resources…already

 routinely assess resource adequacy and reliability.” Id. Those same entities




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 warned EPA that the Rule, which they cannot change, will threaten

 reliability. PJM Interconnection, one of the nation’s grid operators,

 submitted comments telling EPA that its Rule, alongside the Agency’s other

 Clean Air Act rulemakings, has “the potential to trigger material impacts to

 the reliability of the bulk electric system.” PJM Comment 1, JA398. It also

 provided EPA with PJM and North American Electric Reliability

 Corporation studies demonstrating the real risks of the Rule to reliability. Id.

 at 12 nn.12-13, JA400. EPA nevertheless declined to assess the impacts of its

 Rule, either in isolation or in conjunction with concurrent powerplant rules.

       The Midcontinent Independent System Operator provided similar

 warnings, explaining that the Rule’s compliance deadlines and control

 requirements leave the region in “near-emergency or emergency

 conditions.” Midcontinent Indep. System Operator Comment 5, JA337.

 Those comments further informed EPA that its proposal would increase “the

 number of hours of energy inadequacy [by] between 16 times and 80 times

 the base case.” Id. at 7, JA338. Further, grid operators told EPA its




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 enhancements—particularly dynamic budgeting—were to blame. See id. at

 7-8, JA338-339; PJM Comment 21-22, JA401-402. EPA arbitrarily sidestepped

 these concerns. And, in anticipation of implementation, both grid operators

 have issued updated reports confirming that the Rule still threatens

 reliability. Energy Transition in PJM 7, https://bit.ly/3xoWh8q; Midcontinent

 Independent System Operator’s Response to the Reliability Imperative 7,

 https://bit.ly/3TXipjd.

       Finally, EPA does not explain how a requirement that sources inform

 grid operators of pending shutdowns will address the danger the Rule poses

 to reliability. 88 FR 36,771. Those entities cannot give sources permission to

 violate EPA’s requirements, and they told EPA as much. See PJM Comment

 4, JA399 (“Regardless of whether deactivating the generating unit would

 adversely affect the reliability of the transmission system, the generator may

 deactivate its generating unit, subject to the [PJM] notice requirements.”).

       By failing to adequately address electric-sector reliability, EPA has

 ignored a major aspect of the problem.




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       Compliance timelines are unreasonable for Pipelines, Paper, and Steel.

 EPA similarly failed to consider important factors in adopting compliance

 timelines for Pipelines, Paper, and Steel. Where EPA was the source of the

 multi-year delay in disapproving State plans, it is even more unreasonable

 for EPA to force impossible compliance deadlines on industry. Texas v. EPA,

 5th Cir. No. 23-60069, ECF 269-1 at 24 (May 1, 2023) (“EPA’s multi-year delay

 in disapproving…[State plans] undercuts any claim that time is of the

 essence when it comes to imposing the EPA’s Final FIP.”).

       Starting with Pipelines, the Rule applies to over three thousand

 engines, 88 FR 36,824, JA1721, and the limited vendor capacity for certain

 control technologies makes it impossible to install the necessary controls

 within the Rule’s deadline. See Timing Report 60-61, JA756-757 (noting

 vendor limitations); Kinder Morgan Comment 28, JA351 (same). EPA’s

 analysis of this issue arbitrarily and capriciously relied on demonstrably

 faulty assumptions.




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       EPA’s Timing Report concludes that 72 months may be required to

 retrofit engines due to limited manufacturer and supply chain delay. Timing

 Report ES-8, 68, JA695, 764; see also id. ES-9, JA696 (potential that May 2026

 compliance date not achievable). That’s more than three years longer than the

 Rule’s May 2026 compliance date allows. Based on EPA’s own math, over

 half of all engines would not meet the Rule’s deadline. Id. at 68, JA764; 88 FR

 36,760, JA1657.

       And while the Timing Report frames six years as an “upper bound,”

 Timing Report 68, JA764, it is nowhere close. The Timing Report arrived at

 its 72-month figure by dividing the total number of engines EPA assessed

 could require retrofits (905) by an estimated rate of retrofits per year (150).

 Id. But neither number is supported. The Timing Report’s assumption that

 only 905 engines would require controls apparently stems from EPA’s faulty

 conclusion that facility-wide emissions averaging requires controls on only

 one-third of covered engines. Id. ES-8, 30, JA695, 726. However, as explained,

 supra 45-46, EPA’s estimate is fatally flawed.




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       Regarding the claimed 150 engines-per-year, Pipeline operators

 explained that because only two vendors can perform retrofits on certain

 types of engines, a maximum of only about 75 engines could be retrofitted

 annually. INGAA Comment 36, JA432; TC Energy Comment 11, JA387. The

 Timing Report acknowledged that “specialized labor” needed for engine

 retrofits was “found to be in limited supply” as of 2022. Timing Report ES-

 3, JA690. Despite the “limited supply,” it nevertheless doubled industry’s

 estimate, based on the unsubstantiated speculation “that the size of the

 skilled labor pool has grown along with natural gas production and

 [engine]-use expansion[.]” Id. at 60, JA756. That was the height of arbitrary.

       The three-year compliance timeframe for Paper is also irrational. Paper

 Association Comments, 34-37, JA424-427. The process of retrofitting a

 project is complex, involving design, engineering, permitting, procurement,

 and installation. Paper Association Comments, 35-36, JA425-426. If a fuel

 switch from coal to natural gas is the compliance option, project timelines

 could be even longer than four years because of equipment or infrastructure




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 changes. Paper Association Comments, 35-36, JA425-426. Major new source

 review permitting also can be triggered resulting in further delay. Id. Three

 years is not enough time to achieve compliance with the paper boiler

 requirements of the Rule, particularly in light of the fact the control

 technologies that are driven by this Rule have never been applied to this

 sector in this country. See Paper Association Comments 17-19, JA417-419.

       For Steel, EPA failed to consider two important aspects of the problem.

 First, it failed to consider the Rule’s own work plan process for reheat

 furnaces. The Timing Report assumes that implementation can begin in

 “Month 3” (November 2023). Timing Report 22, JA718. But the Rule requires

 facilities to first submit work plans to EPA that will undergo a minimum of

 two rounds of review (for completeness and adequacy). 88 FR 36,879,

 JA1776. The work plans themselves are not due until August 2024, and the

 Rule gives EPA 60 days to complete each review. Id. Thus, even if EPA has

 no objection to a work plan—which would involve additional steps under

 40 C.F.R. § 52.43(d)(4)(ii)—owners and operators will not be able to




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 reasonably commence implementation until 2025. Since EPA’s own Timing

 Report estimates installation will take 9-15 months, the omission of an 18-

 month work plan process was a failure to consider an important aspect of

 the problem.

       Second, comments raised concerns that supply chain restrictions would

 render EPA’s implementation schedule for Steel infeasible. See USS

 Comment, Exhibit C 15-16 (JA661-662), Exhibit D 29-30 (JA666-667). Yet

 while EPA recognizes that the supply chain, including vendor and skilled

 labor constraints, can introduce significant delays, it failed to assess those

 impacts for Steel. Timing Report 41, 53-54, JA737, 749-750. Having

 recognized the importance of the issue, EPA’s failure to consider its impact

 on Steel was arbitrary and capricious. State Farm, 463 U.S. at 43.

       Case-by-case extensions do not save the arbitrary and capricious

 compliance deadline. Extensions will be required across the board—but EPA

 has stressed that it “anticipates that the majority of the industrial sources

 covered by this final [R]ule will not qualify.” 88 FR 36,760, JA1657. Even




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 taking at face value the Timing Report’s 72-month underestimate for

 engines, as an example, extensions would be required for over half of Pipeline

 engines. The extension also requires operators take “all steps possible to install

 the controls necessary for compliance,” 40 C.F.R. § 52.40(d)(3) (emphasis

 added); there is thus no accommodation for maintaining reliability. For

 Pipelines, Steel, and Paper, a limited extension cannot remedy fundamental

 errors in the Timing Report’s analysis.

       The Rule’s flawed compliance deadline warrants vacatur. See Window

 Covering Mfrs. Ass’n v. Consumer Prod. Safety Comm’n, 82 F. 4th 1273, 1292

 (D.C. Cir. 2023) (vacating rule with flawed compliance deadline).

             E.      EPA Deprived Industry Petitioners of a Meaningful
                     Comment Opportunity Multiple Times Over.

       Proper notice-and-comment rulemaking is a foundational procedural

 requirement. Small Ref., 705 F.2d at 547. Here, EPA took petitioners by

 surprise in the Rule, offering unforeseeable material and demonstrably new

 requirements that were not considered at proposal, depriving Industry

 Petitioners the opportunity to comment.



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                     1.     EPA’s Budget “Enhancements” Deny a Meaningful
                            Comment Opportunity.

       EPA does not know what its own State emissions budgets will be after

 2026, how much compliance will cost, or whether the resulting emissions

 reductions will meaningfully improve air quality. Thus, States and sources

 will be subject to a budget number that they will have had no opportunity

 to comment on, violating the Act’s procedural requirements.

       EPA contends that ongoing, “dynamic” changes caused by

 enhancements need not be subject to future comment and review because

 they are simply “ministerial.” 88 FR 36,686, 36,753 n.257, JA1583, 1650. But

 these changes fundamentally affect the regulated industry. EPA does not

 and cannot answer any of these elements past 2026. EPA has therefore

 deprived stakeholders a meaningful opportunity to comment.

                     2.     EPA’s Steel Reheat Furnace and                Boiler
                            Requirements Are Procedurally Improper.

       For Steel, the Rule had many surprises. In the Rule EPA introduced

 (for the first time) a highly questionable “work plan” process for reheat

 furnaces. Id. at 36,879, JA1776; supra 71-74. EPA offered no notice of the work


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 plan process before Rule publication, and it is for all practical purposes a

 “brand new rule.” Int’l Union, United Mine Workers v. Mine Safety & Health

 Admin., 407 F.3d 1250, 1259 (D.C. Cir. 2005).

       EPA proposed to regulate Steel boilers based on annual emissions or

 production. 87 FR 20,181, JA260. Without notice, EPA pivoted to “design

 capacity.” 88 FR 36,884, JA1781. This was a significant change since it

 captures more Steel units than proposed. Id. at 36,819, JA1716. EPA never

 offered an opportunity for comment.

       EPA added exemptions to attempt to address this newly-created

 problem. Id. But these too were improperly excluded from notice-and-

 comment rulemaking. Fertilizer Inst. v. EPA, 935 F.2d 1303, 1311 (D.C. Cir.

 1991) (adding exemptions that “offer new and different criticisms” are not a

 logical outgrowth (citation omitted)).

       Similarly, an Arkansas HYSPLIT analysis for Galveston was not

 included in public comments (unlike Brazoria, discussed supra 62-66)

 because EPA’s modeling at the time of the proposed rule only linked




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 Arkansas to Brazoria, so petitioners had no opportunity to comment on the

 newly purported linkage of Arkansas to Galveston. A petition for

 reconsideration including such analysis, as well as updated HYSPLIT and

 CAMx modeling, was filed by Hybar LLC on August 4, 2023.

         Had EPA provided Steel adequate notice, and an opportunity to

 comment, there is a “substantial likelihood that the rule would have been

 significantly changed.” 42 U.S.C. § 7607(d)(8).

         IV.   The Court Should Defer Considering Hybar’s Petition.17

         The Act only permits EPA to promulgate a federal plan after EPA

 lawfully disapproves a state plan. Id. § 7410(c)(1)(B). In Arkansas, where

 Hybar is located, that legal predicate is absent due to the Eighth Circuit’s

 stay. This Court cannot uphold the Rule with respect to Arkansas without

 intruding on the Eighth Circuit’s jurisdiction, or at least without violating

 comity principles. Cf. TRAC v. FCC, 750 F.2d 70, 72 (D.C. Cir. 1984) (“[W]here

 a statute commits final agency action to review by the Court of Appeals, the



 17   Argument asserted by Hybar only.


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 appellate court has exclusive jurisdiction to hear suits seeking relief that

 might affect its future statutory power of review.”). Moreover, the Rule is

 stayed in Arkansas. 40 C.F.R. § 52.184. Accordingly, this Court should defer

 considering Hybar’s petition at this time. If the Court decides Hybar’s

 petition, it should rule in Hybar’s favor.

                                 CONCLUSION

       For these reasons, the Rule is unlawful as to each Industry Petitioner

 and all industries collectively. Industry Petitioners’ petitions should be

 granted and the Rule vacated.




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    Dated: August 22, 2024              Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

          Pursuant to Fed. R. App. P. 32(f) and (g) and Circuit Rule 32(e)(1),

    I hereby certify that this brief contains 15,589 words, excluding

    exempted parts, according to the count of Microsoft Word 365. This

    brief does not exceed 15,600 words, consistent with the Court’s Order of

    December 4th, 2023 (ECF No. 2029865). I further certify that the

    foregoing Final Joint Opening Brief of Industry Petitioners complies

    with Fed. R. App. P. 32(a)(5) and (6) because it has been prepared in 14-

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                         CERTIFICATE OF SERVICE

         I hereby certify that on this 22nd day of August 2024, the

    foregoing Final Joint Opening Briefing of Industry Petitioners was

    served electronically on all registered counsel through the Court’s

    CM/ECF system.

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